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                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS


Malden Transportation, Inc., et. al,              C.A. No. 1:16-cv-12538-NMG

         Plaintiffs,                              consolidated with:

v.                                                C.A. No. 1:16-cv-12651-NMG
                                                  C.A. No. 1:17-cv-10142-NMG
Uber Technologies, Inc., and Rasier, LLC,         C.A. No. 1:17-cv-10180-NMG
                                                  C.A. No. 1:17-cv-10316-NMG
         Defendants.                              C.A. No. 1:17-cv-10598-NMG
                                                  C.A. No. 1:17-cv-10586-NMG


 This pleading only concerns Gill & Gill, Inc. et als v. Uber Technologies, Inc., et als, C.A. No.
 1:16-cv-12651-NMG


Gill & Gill, Inc., Nanak Naam, Inc.,
Amritsar Express, Inc.,
Sonny and Bobby Trans., Inc.,
Gill Trans., Inc., Finos Taxi, Inc.,
Charlene Taxi, Inc., Mytasha Taxi, Inc.,
Wyoming Cab, Inc.,Edward’s Taxi, Inc.,
Curtis Cab, Inc., My Father Taxi, Inc.,
Mic-Paul Taxi, Inc.,A. Stacy Taxi, Inc.,
Patti Pie Taxi, Inc., McGaff Taxi, Inc.
Rawan Taxi, Inc., Spring Taxi, Inc.
Summers Taxi, Inc., Autumn Taxi, Inc.,
Winters Taxi, Inc., Bow Street Cab, Inc.,
Blue Knight Taxi, Inc., Chele Taxi, Inc.,
Christmas Taxi, Inc., GES Taxi, Inc.,
Grand Sport Taxi, Inc., Breenie Taxi, Inc.,
Lil’s Taxi, Inc., Claire Taxi, Inc.,
Don-Lil Taxi, Inc., Andy’s Cab, Inc.,
Boardman Cab, Inc., Grove Cab, Inc.,
Secret Squirrel Taxi, Inc., Navjit Cab, Inc.,
Najjar Enterprises, Inc.,
Bilga, Inc., Jimmy 1, Inc.,
Anju Trans Incorporated, Deep Cab, Inc.
116 Cab, Inc., A. Tammy Cab, Inc.,
AAA Cab, Inc., Abbas Cab, Inc.,
Abbed Cab, Inc., ABCD Taxi, Inc.,
Absolute Taxi of Cambridge, Inc.,
Addis Ababa, Inc., Addis Cab, Inc.,

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Advantage Taxi of Cambridge, Inc.,
Ahram Cab, Inc., Aldine Cab, Inc.,
Alen's Cab, Inc., Alexandria Trans., Inc.,
Alganes Cab, Inc., Alpha Omega Cab, Inc.,
Alta Taxi, Inc., Amar Trans., Inc.,
An Yin Pa Ta, Inc.,
Anderson & Joshua Cab, Inc.,
Ange & Michelle, Inc., Angereb, Inc.,
ANH Cab, Inc., Anna Cab, Inc.,
Anpaul Cab, Inc., Antonio & Franco, Inc.,
 Ariel & Japheth, Inc.,
 Aristocrats Ambiance Taxi, Inc.,
 Arnold Court Taxi, Inc., Aubanel Trans., Inc.,
 August Cab, Inc., Azin Taxi, Inc.,
 Baba Nanak Cab, Inc.,
 Bainet Cab, Inc., Banwait Trans., Inc.,
 Baran Trans., Inc., Bay City Taxi, Inc.,
 BB Taxi Express, Inc., BBJ Cab, Inc.,
 BenBen Cab, Inc., Benito & Roseline Cab, Inc.,
 Beno Cab, Inc., Bern. & Y. Cab, Inc.,
 Best is Best Cab, Inc.,
 Bethel Cab, Inc., Betru Ami Corp.,
 Bhargo Inc., Binyamin Cab, Inc.,
 BKMB, Inc., Briol Cab, Inc.,
 Britney Cab, Inc., Brothers Cab, Inc.,
 C & G Leasing, Inc., C.E.F. Cab, Inc.,
 Cambridge Cab Connection, Inc.,
 Cambridge Classic Cab, Inc., Cambridge Taxi, Inc.,
 Carlon Trans., Inc., Cathul, Inc., Cayes Cab, Inc.,
 Cayes II Cab, Inc., Cecilard Transportation, Inc.,
 Central Square, Cab, Inc., Charlie Cab, Inc.,
 Chenal Cab, Inc., Chris and Junior, Inc.,
 Christopher Cab, Inc., Christopher's Cab, Inc.,
 Cleo Taxi, Inc., Clerna Corp., Coretta, Inc.,
 Crossroad Trans. Inc., Croyance Cab, Inc.,
 Cyrilo Cab, Inc.,
 Dadoo Cab, Inc., Dady-Phone, Inc.,
 Dalul, Inc.,
 Daphne Taxi, Inc., De Lerebours, Inc.,
 Debra Cab, Inc.,
 Delivrance Cab, Inc., Demosterne, Inc.,
 Deruka Taxi, Inc., Desdunes Cab, Inc.,
 Desdunes United, Inc., Dieu Est Bon, Inc.,
 Dillons Trans., Inc., Dophy Taxi, Inc.,
 Dou Dou Cab, Inc., Douceur Cab, Inc.,
 Dreamers Cab, Inc., E. and Anne Taxi, Inc.,
 E.D.R. Cab, Inc., Eagle Taxi, Inc.,
 Eben-Ezer Taxi Cab, Inc., Edward Noel, Inc.,

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El Chalday, Inc., Elan Cab, Inc., Eliot Cab, Inc.,
Elizabeth Cab, Inc., Elpoorag, Inc.,
Elysse Corporation, Elzira & Luc Cab, Inc.,
Ematesse Cab, Inc., Emily & Kelly Cab, Inc.,
Enchante Taxi, Inc., Era Et Labora, Inc.,
Eric & Maria Cab, Inc., Esperanta Taxi, Inc.,
ET Cab, Inc., Eureka Cab, Inc., F. Edel, Inc.,
Fafou Cab, Inc., Farb, Inc., Fatima Cab, Inc.,
Fedsen & Tedsen, Inc., Fern, Inc.,
First Street Cab, Inc., Fledo, Inc.,
Flying Carpet Cab, Inc., Four J's Cab, Inc.,
Franklin Taxi, Inc., G & J Cab Inc.,
G. and E. Cab, Inc., G. Jose Cab, Inc.,
G.G.M. Cab, Inc., Gabrielle Cab, Inc.,
GADL Cab, Inc., Gagan Taxi, Inc.,
Ganga, Inc., Garven’s Cab, Inc.,
Geolange, Inc., Giorgio's Cab, Inc.,
God is Good, Inc., Godavari, Inc.,
 Carly Cab, Inc., GOH Cab, Inc.,
Golden Temple Trans., Inc., Good Time Cab, Inc.,
Grand Canyon, Inc., Green Land, Inc.,
Green Stripe Cab, Inc.,
Guru Gobind Cab, Inc., Guru Tegh Bhadur Cab, Inc.,
Guru Trans., Inc., H & L Cab, Inc., Haama Trans, Inc.,
Hanef Trans., Inc., Hare Hare Trans., Inc.,
Hare Krishna Trans., Inc.,
Hare Ram Trans., Inc., Harsh Cab, Inc.,
Harvard Square Cab, Inc., Hattie Cab, Inc.,
Hawelti Cab, Inc., Hernandez Transportation Inc.,
Himalaya, Inc.,
Hiram's Taxi, Inc., Homano & Carl Taxi, Inc.,
Impeccable Trans, Inc., Inman Cab, Inc.,
IQRA Enterprise, Inc., Isaih Mathew, Inc.,
ITA Cab, Inc., J.W. Cab Inc.,
Jacqueline Cab, Inc., Jacquet Cab, Inc.,
Jai Gurudev, Corporation, Jane Mary Cab, Inc.,
Jason Cab, Inc., Jave Cab, Inc., Jazz Taxi, Inc.,
Je Crois en Dieu, Inc., Jeahanna Taxi, Inc.,
 Dependable Dispatch LLC, Jeffrey & Tanisha, Inc.,
Jehovah Jureh, Inc., Jelus Cab, Inc., Jeremie Taxi, Inc.,
Jezil Cab, Inc., JFL Cab, Inc., JMF Cab, Inc.,
JOJO E.M. Cab, Inc., Joune, Inc., Joyse Cab, Inc.,
Jude Cab, Inc., JV Taxi, Inc., K. Heyden, Inc.,
Kalkat Cab, Inc., Kartar Cab, Inc.,
Kassie Cab, Inc., KBS Cab, Inc.,
Kendra Corporation, Keshia Cab, Inc.,
Ketterle Cab, Inc., Kevin Taxi, Inc.,
Khalsa Cab, Inc., Khaveeri, Inc., Kohsar, Inc.,

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Kripalu Trans., Inc., Krishana Trans., Inc.,
Krishna Krishna Trans., Inc.,
Kurala Trans., Inc., La Boule De Feu, Inc.,
La Diligence, Inc., La Trinite, Inc., Laracine, Inc.,
Larrieux Cab, Inc., Larrouse Cab, Inc.,
Le Bon Berger, Inc.,
Lele Cab, Inc., Les Gens Du Nord, Inc.,
Les-Mar Taxi, Inc., Lexington Taxi, Inc.,
Leyna Cab, Inc., Lideta Cab, Inc., L'Oiseau Taxi, Inc.,
Loren Cab, Inc., Louine Cab, Inc.,
Lovely One, Inc., Lunica, Inc., Lysette & Jardus, Inc.,
M and J Cab, Inc., M. & D. Brothers, Inc.,
M. Angelo Cab, Inc., Mahnoor Trans., Inc., Majid, Inc.,
Makonnen Cab, Inc., Manhar, Inc., Manor Cab, Inc.,
Marcus Cab, Inc.,
Mark & S, Inc., Martha's Trans., Inc.,
Marzeneb, Inc., Mas Taxi, Inc.,
Matelots, Inc., Mava Taxi, Inc., MCG Cab, Inc.,
Megan Cab, Inc., Mehrose, Inc., Meklit Cab, Inc.,
Melchisedek Cab, Inc., Mera Soami, Inc.,
Meshualekia, Inc., Mew Cab, Inc., MGP Taxi, Inc.,
Micasta Cab, Inc., Michael Cab, Inc.,
Millennium Taxi, Inc., Mirka Inc., MIT Cab, Inc.,
Mitachal Cab, Inc., MJ Taxi Cab, Inc.,
Mobarak Cab, Incorporated, Mogadishu Cab, Inc.,
Mona Cab, Inc., MSW Taxi, Inc.,
Mt. Carmelle Taxi, Inc., Mt. Everest, Inc.,
Mugal Trans., Inc., Munny Trans., Inc.,
My Nathalie Cab, Inc., My Yasmina Cab, Inc.,
N M R Cab, Inc., Nada, Inc.,
Nahar Singh Cab, Inc., Naju, Inc., Nancy Cab, Inc.,
Nativity Cab, Inc., Natou Cab, Inc.,
Neges Jr., Cab, Inc., Nek Fab, Inc., Nel & Son, Inc.,
Nelcheri Cab, Inc., New Invision, Inc., Next Cab, Inc.,
Nicky Trans, Inc.,
Nimrah Trans., Inc., NKB Cab, Inc., No No Cab, Inc.,
Noma Cab, Inc., Noor Cab, Inc.,
O.D.J. Taxi, Inc.,
Ohm, Shiva & Ganesh Cab, Inc.,
On Y Va Taxi, Inc., Onkar Cab, Inc.,
Orow, Inc.,
P & G Cab, Inc., P & P Dumerant Corp,
P & S Taxi Corp., P.B. Cab, Inc., P.I. Cab, Inc.,
Pable Taxi, Inc., Pafou Cab, Inc., Pal Taxi, Inc.,
Paloma Transportation, Inc., Papeso Cab, Inc.,
Papu, Inc., Parvati Cab, Inc., Patience Taxi, Inc.,
Patrick Taxi, Inc., Paul Cab, Inc.,
Petit Goave Cab, Inc., PH & KN, Inc.,

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Phatricksey Cab, Inc., Pidi Cab, Inc.,
Praise the Lord, Inc.,
Nu-Checker, Inc., Promise Cab, Inc.,
Punjab Trans., Inc., Queen Jessica Cab, Inc.,
R. Candy Taxi, Inc., Raavi Trans., Inc.,
Radha Soami, Inc., Radha Swami Bias, Inc.,
Radha Trans., Inc., Rai Transportation, Inc.,
Ramc Cab, Inc., Randah Cab, Inc.,
RB Cab, Inc., Rebecca Cab, Inc.,
Red Cab of Worcester, Inc., Red Fish Cab, Inc.,
Reham Cab, Inc., Renee Taxi, Inc.,
Renette & Francklyn, Inc., Ricardo & Joanne Cab, Inc.,
Ril-Tul Cab, Inc., Rios Gon Cab, Inc.,
Ripert Cab, Inc., Rival Cab, Inc., Robenson Taxi, Inc.,
Rock Solid & Momone, Inc., Rodney Cab, Inc.,
Rol & G, Inc., Roly Cab, Inc., Roody's Cab, Inc.,
Rose Cab, Inc.,
RP Excelsior, Inc., Ruth Cab, Inc., S & J Inc.,
Sami's Taxi, Inc.,
Samuel Transportation, Inc., Samyr Cab, Inc.,
Sasun Cab, Inc., Satkartar, Inc., Satlouj, Inc.,
Satnum Cab, Inc., Sea Wall Taxi, Inc.,
Selam Transportation, Inc., Selon Dieu Cab, Inc.,
Seven Hills Taxi, Inc.,
Shani Taxi, Inc., Sheikh Trans., Inc.,
Shiva Ji Cab, Inc.,
Shoopite Cab, Inc.,
Silva Cab, Inc., Singh Cab, Inc., SJ Cab, Inc.,
SJP Taxi, Inc., Soeg Cab, Inc.,
Sosthene, Inc., South Sudan Corp,
Splendide Cab, Inc., St. Michel A, Inc.,
St. Richard Taxi, Inc., Sunset Cab, Inc.,
Swami JI, Inc.,
Symphony Taxi, Inc., T & J Cab, Inc.,
Tabiking Express, Inc.,
TAJ Trans., Inc., Take it EZ Cab, Inc.,
Talin Cab, Inc., Tara Transportation, Inc.,
Tarjan Cab, Inc., Taxi Technology, Inc.,
Taylor Taxi, Inc., Ted D. J. Taxi, Inc.,
Teja Trans., Inc., Telfort Cab, Inc.,
The 32 Summer St. Corp.,
Thomas Family, Inc., TI Lou Lou Cab, Inc.,
Tina & Nina Trans., Inc., Tivy, Inc.,
Tom’s Taxi, Inc., Town Taxi of Cape Cod, Inc.,
TR Cab, Inc., Tremont Street Taxi, Inc.,
Tristan & Vanessa Cab, Inc.,
TT, Inc., Turk Trans., Inc.,
Twins Brothers Transportation Inc.,

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Two Boys Cab, Inc., Two Girls Taxi, Inc.,
U & I Corp., Ulysse Trans. Holding, Corp.,
Ulysse's Cab, Inc., Vette Taxi, Inc.,
Viceroy Cab, Inc., Victoria cab, Inc.,
Virginia Cab, Inc., W.L.E.J., Inc.,
Wadh Bagh Singh Cab, Inc.,
Walger, Inc., Willky-Medgene, Inc.,
Wilvens Cab, Inc., Windsor Cab, Inc.,
Yahweh Cab, Inc., Yamuna, Inc.,
Yellow Cab of Belmont, Inc.,
YHWH Sabaoth, Inc., Yilma Trans., Inc.,
Yo Yo Cab, Inc., Yoly-Carvens, Inc.,
Yotille Cab, Inc., You and I Cab, Inc.,
You Too Cab, Inc., Youssef, Inc.,
Yves Taxi, Inc.,
Zahida Trans., Inc., Zando Cab, Inc.,
Zicky Cab, Inc., Zubir, Inc.
   Plaintiffs

V.

Uber Technologies, Inc.
Rasier, LLC
  Defendant


                                 THIRD AMENDED COMPLAINT

Plaintiffs, Gill & Gill, Inc.; Nanak Naam, Inc.; Amritsar Express, Inc.; Sonny and Bobby Trans.,

Inc.; Gill Trans., Inc.; Finos Taxi, Inc.; Charlene Taxi, Inc.; Mytasha Taxi, Inc.; Wyoming Cab,

Inc.; Edward’s Taxi, Inc.; Curtis Cab, Inc.; My Father Taxi, Inc.; Mic-Paul Taxi, Inc.; A. Stacy

Taxi, Inc.; Patti Pie Taxi, Inc.; McGaff Taxi, Inc.; Rawan Taxi, Inc.; Spring Taxi, Inc.; Summers

Taxi, Inc.; Autumn Taxi, Inc.; Winters Taxi, Inc.; Bow Street Cab, Inc.; Blue Knight Taxi, Inc.;

Chele Taxi, Inc.; Christmas Taxi, Inc.; GES Taxi, Inc.; Grand Sport Taxi, Inc.; Breenie Taxi,

Inc.; Lil’s Taxi, Inc.; Claire Taxi, Inc.; Don-Lil Taxi, Inc.; Andy’s Cab, Inc.; Boardman Cab,

Inc.; Grove Cab, Inc.; Secret Squirrel Taxi, Inc.; Navjit Cab, Inc.; Najjar Enterprises, Inc.; Bilga,

Inc.; Jimmy 1, Inc.; Anju Trans Incorporated; Deep Cab, Inc.;



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116 Cab, Inc.; A. Tammy Cab, Inc.; AAA Cab, Inc.; Abbas Cab, Inc.; Abbed Cab, Inc.; ABCD

Taxi, Inc.; Absolute Taxi of Cambridge, Inc.; Addis Ababa, Inc.; Addis Cab, Inc.; Advantage

Taxi of Cambridge, Inc.; Ahram Cab, Inc.; Aldine Cab, Inc.; Alen's Cab, Inc.; Alexandria Trans.,

Inc.; Alganes Cab, Inc.; Alpha Omega Cab, Inc.; Alta Taxi, Inc.; Amar Trans., Inc.; An Yin Pa

Ta, Inc.; Anderson & Joshua Cab, Inc.; Ange & Michelle, Inc.; Angereb, Inc.; ANH Cab, Inc.;

Anna Cab, Inc.; Anpaul Cab, Inc.; Antonio & Franco, Inc.; Ariel & Japheth, Inc.; Aristocrats

Ambiance Taxi, Inc.; Arnold Court Taxi, Inc.; Aubanel Trans., Inc.; August Cab, Inc.; Azin

Taxi, Inc.; Baba Nanak Cab, Inc.; Bainet Cab, Inc.; Banwait Trans., Inc.; Baran Trans., Inc.; Bay

City Taxi, Inc.; BB Taxi Express, Inc.; BBJ Cab, Inc.; BenBen Cab, Inc.; Benito & Roseline

Cab, Inc.; Beno Cab, Inc.; Bern. & Y. Cab, Inc.; Best is Best Cab, Inc.; Bethel Cab, Inc.; Betru

Ami Corp.; Bhargo Inc.; Binyamin Cab, Inc.; BKMB, Inc.; Briol Cab, Inc.; Britney Cab, Inc.;

Brothers Cab, Inc.; C & G Leasing, Inc.; C.E.F. Cab, Inc.; Cambridge Cab Connection, Inc.;

Cambridge Classic Cab, Inc.; Cambridge Taxi, Inc.; Carlon Trans., Inc.; Cathul, Inc.; Cayes Cab,

Inc.; Cayes II Cab, Inc.; Cecilard Transportation, Inc.; Central Square, Cab, Inc.; Charlie Cab,

Inc.; Chenal Cab, Inc.; Chris and Junior, Inc.; Christopher Cab, Inc.; Christopher's Cab, Inc.;

Cleo Taxi, Inc.; Clerna Corp.; Coretta, Inc.; Crossroad Trans. Inc.; Croyance Cab, Inc.; Cyrilo

Cab, Inc.; Dadoo Cab, Inc.; Dady-Phone, Inc.; Dalul, Inc.; Daphne Taxi, Inc.; De Lerebours,

Inc.; Debra Cab, Inc.; Delivrance Cab, Inc.; Demosterne, Inc.; Deruka Taxi, Inc.; Desdunes Cab,

Inc.; Desdunes United, Inc.; Dieu Est Bon, Inc.; Dillons Trans., Inc.; Dophy Taxi, Inc.; Dou Dou

Cab, Inc.; Douceur Cab, Inc.; Dreamers Cab, Inc.; E. and Anne Taxi, Inc.; E.D.R. Cab, Inc.;

Eagle Taxi, Inc.; Eben-Ezer Taxi Cab, Inc.; Edward Noel, Inc.; El Chalday, Inc.; Elan Cab, Inc.;

Eliot Cab, Inc.; Elizabeth Cab, Inc.; Elpoorag, Inc.; Elysse Corporation; Elzira & Luc Cab, Inc.;

Ematesse Cab, Inc.; Emily & Kelly Cab, Inc.; Enchante Taxi, Inc.; Era Et Labora, Inc.; Eric &



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Maria Cab, Inc.; Esperanta Taxi, Inc.; ET Cab, Inc.; Eureka Cab, Inc.; F. Edel, Inc.; Fafou Cab,

Inc.; Farb, Inc.; Fatima Cab, Inc.; Fedsen & Tedsen, Inc.; Fern, Inc.; First Street Cab, Inc.; Fledo,

Inc.; Flying Carpet Cab, Inc.; Four J's Cab, Inc.; Franklin Taxi, Inc.; G & J Cab Inc.; G. and E.

Cab, Inc.; G. Jose Cab, Inc.; G.G.M. Cab, Inc.; Gabrielle Cab, Inc.; GADL Cab, Inc.; Gagan

Taxi, Inc.; Ganga, Inc.; Garven’s Cab, Inc.; Geolange, Inc.; Giorgio's Cab, Inc.; God is Good,

Inc.; Godavari, Inc.; Carly Cab, Inc.; GOH Cab, Inc.; Golden Temple Trans., Inc.; Good Time

Cab, Inc.; Grand Canyon, Inc.; Green Land, Inc.; Green Stripe Cab, Inc.; Guru Gobind Cab, Inc.;

Guru Tegh Bhadur Cab, Inc.; Guru Trans., Inc.; H & L Cab, Inc.; Haama Trans, Inc.; Hanef

Trans., Inc.; Hare Hare Trans., Inc.; Hare Krishna Trans., Inc.; Hare Ram Trans., Inc.; Harsh

Cab, Inc.; Harvard Square Cab, Inc.; Hattie Cab, Inc.; Hawelti Cab, Inc.; Hernandez

Transportation Inc.; Himalaya, Inc.; Hiram's Taxi, Inc.; Homano & Carl Taxi, Inc.; Impeccable

Trans, Inc.; Inman Cab, Inc.; IQRA Enterprise, Inc.; Isaih Mathew, Inc.; ITA Cab, Inc.; J.W. Cab

Inc.; Jacqueline Cab, Inc.; Jacquet Cab, Inc.; Jai Gurudev, Corporation; Jane Mary Cab, Inc.;

Jason Cab, Inc.; Jave Cab, Inc.; Jazz Taxi, Inc.; Je Crois en Dieu, Inc.; Jeahanna Taxi, Inc.;

Dependable Dispatch LLC; Jeffrey & Tanisha, Inc.; Jehovah Jureh, Inc.; Jelus Cab, Inc.; Jeremie

Taxi, Inc.; Jezil Cab, Inc.; JFL Cab, Inc.; JMF Cab, Inc.; JOJO E.M. Cab, Inc.; Joune, Inc.; Joyse

Cab, Inc.; Jude Cab, Inc.; JV Taxi, Inc.;K. Heyden, Inc.; Kalkat Cab, Inc.; Kartar Cab, Inc.;

Kassie Cab, Inc.; KBS Cab, Inc.; Kendra Corporation; Keshia Cab, Inc.; Ketterle Cab, Inc.;

Kevin Taxi, Inc.; Khalsa Cab, Inc.; Khaveeri, Inc.; Kohsar, Inc.; Kripalu Trans., Inc.; Krishana

Trans., Inc.; Krishna Krishna Trans., Inc.; Kurala Trans., Inc.; La Boule De Feu, Inc.;

La Diligence, Inc.; La Trinite, Inc.; Laracine, Inc.; Larrieux Cab, Inc.; Larrouse Cab, Inc.;

Le Bon Berger, Inc.; Lele Cab, Inc.; Les Gens Du Nord, Inc.; Les-Mar Taxi, Inc.; Lexington

Taxi, Inc.; Leyna Cab, Inc.; Lideta Cab, Inc.; L'Oiseau Taxi, Inc.; Loren Cab, Inc.; Louine Cab,



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Inc.; Lovely One, Inc.; Lunica, Inc.; Lysette & Jardus, Inc.; M and J Cab, Inc.; M. & D. Brothers,

Inc.; M. Angelo Cab, Inc.; Mahnoor Trans., Inc.; Majid, Inc.; Makonnen Cab, Inc.; Manhar, Inc.;

Manor Cab, Inc.; Marcus Cab, Inc.; Mark & S, Inc.; Martha's Trans., Inc.; Marzeneb, Inc.; Mas

Taxi, Inc.; Matelots, Inc.; Mava Taxi, Inc.; MCG Cab, Inc.; Megan Cab, Inc.; Mehrose, Inc.;

Meklit Cab, Inc.; Melchisedek Cab, Inc.; Mera Soami, Inc.; Meshualekia, Inc.; Mew Cab, Inc.;

MGP Taxi, Inc.; Micasta Cab, Inc.; Michael Cab, Inc.; Millennium Taxi, Inc.; Mirka Inc.; MIT

Cab, Inc.; Mitachal Cab, Inc.; MJ Taxi Cab, Inc.; Mobarak Cab, Incorporated; Mogadishu Cab,

Inc.; Mona Cab, Inc.; MSW Taxi, Inc.; Mt. Carmelle Taxi, Inc.; Mt. Everest, Inc.; Mugal Trans.,

Inc.; Munny Trans., Inc.; My Nathalie Cab, Inc.; My Yasmina Cab, Inc.; N M R Cab, Inc.; Nada,

Inc.; Nahar Singh Cab, Inc.; Naju, Inc.; Nancy Cab, Inc.; Nativity Cab, Inc.; Natou Cab, Inc.;

Neges Jr., Cab, Inc.; Nek Fab, Inc.; Nel & Son, Inc.; Nelcheri Cab, Inc.; New Invision, Inc.; Next

Cab, Inc.; Nicky Trans, Inc.; Nimrah Trans., Inc.; NKB Cab, Inc.; No No Cab, Inc.; Noma Cab,

Inc.; Noor Cab, Inc.; O.D.J. Taxi, Inc.; Ohm, Shiva & Ganesh Cab, Inc.; On Y Va Taxi, Inc.;

Onkar Cab, Inc.; Orow, Inc.; P & G Cab, Inc.; P & P Dumerant Corp; P & S Taxi Corp.; P.B.

Cab, Inc.; P.I. Cab, Inc.; Pable Taxi, Inc.; Pafou Cab, Inc.; Pal Taxi, Inc.; Paloma Transportation,

Inc.; Papeso Cab, Inc.; Papu, Inc.; Parvati Cab, Inc.; Patience Taxi, Inc.; Patrick Taxi, Inc.; Paul

Cab, Inc.; Petit Goave Cab, Inc.; PH & KN, Inc.; Phatricksey Cab, Inc.; Pidi Cab, Inc.; Praise the

Lord, Inc.; Nu-Checker, Inc.; Promise Cab, Inc.; Punjab Trans., Inc.; Queen Jessica Cab, Inc.; R.

Candy Taxi, Inc.; Raavi Trans., Inc.; Radha Soami, Inc.; Radha Swami Bias, Inc.; Radha Trans.,

Inc.; Rai Transportation, Inc.; Ramc Cab, Inc.; Randah Cab, Inc.; ; RB Cab, Inc.; Rebecca Cab,

Inc.; Red Cab of Worcester, Inc.; Red Fish Cab, Inc.; Reham Cab, Inc.;, Renee Taxi, Inc.;

Renette & Francklyn, Inc.; Ricardo & Joanne Cab, Inc.; Ril-Tul Cab, Inc.; Rios Gon Cab, Inc.;

Ripert Cab, Inc.; Rival Cab, Inc.; Robenson Taxi, Inc.; Rock Solid & Momone, Inc.; Rodney



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Cab, Inc.; Rol & G, Inc.; Roly Cab, Inc.; Roody's Cab, Inc.; Rose Cab, Inc.; RP Excelsior, Inc.;

Ruth Cab, Inc.; S & J Inc.; Sami's Taxi, Inc.; Samuel Transportation, Inc.; Samyr Cab, Inc.;

Sasun Cab, Inc.; Satkartar, Inc.; Satlouj, Inc.; Satnum Cab, Inc.; Sea Wall Taxi, Inc.; Selam

Transportation, Inc.; Selon Dieu Cab, Inc.; Seven Hills Taxi, Inc.; Shani Taxi, Inc.; Sheikh

Trans., Inc.; Shiva, Ji Cab, Inc.; Shoopite Cab, Inc.; Silva Cab, Inc.; Singh Cab, Inc.; SJ Cab,

Inc.; SJP Taxi, Inc.; Soeg Cab, Inc.; Sosthene, Inc.; South Sudan Corp; Splendide Cab, Inc.; St.

Michel A, Inc.; St. Richard Taxi, Inc.; Sunset Cab, Inc.; Swami JI, Inc.; Symphony Taxi, Inc.;

T & J Cab, Inc.; Tabiking Express, Inc.; TAJ Trans., Inc.; Take it EZ Cab, Inc.; Talin Cab, Inc.;

Tara Transportation, Inc.; Tarjan Cab, Inc.; Taxi Technology, Inc.; Taylor Taxi, Inc.; Ted D. J.

Taxi, Inc.; Teja Trans., Inc.; Telfort Cab, Inc.; The 32 Summer St. Corp.; Thomas Family, Inc.;

TI Lou Lou Cab, Inc.; Tina & Nina Trans. Inc.; Tivy, Inc.; Tom’s Taxi, Inc.; Town Taxi of Cape

Cod, Inc.; TR Cab, Inc.; Tremont Street Taxi, Inc.; Tristan & Vanessa Cab, Inc.; TT, Inc.; Turk

Trans., Inc.; Twins Brothers Transportation Inc.; Two Boys Cab, Inc.; Two Girls Taxi, Inc.; U &

I Corp.; Ulysse Trans. Holding, Corp.; Ulysse's Cab, Inc.; Vette Taxi, Inc.; Viceroy Cab, Inc.;

Victoria Cab, Inc.; Virginia Cab, Inc.; W.L.E.J., Inc.; Wadh Bagh Singh Cab, Inc.;Walger, Inc.;

Willky-Medgene, Inc.; Wilvens Cab, Inc.; Windsor Cab, Inc.; Yahweh Cab, Inc.; Yamuna, Inc.;

Yellow Cab of Belmont, Inc.; YHWH Sabaoth, Inc.; Yilma Trans., Inc.; Yo Yo Cab, Inc.; Yoly-

Carvens, Inc.; Yotille Cab, Inc.; You and I Cab, Inc.; You Too Cab, Inc.; Youssef, Inc.; ; Yves

Taxi, Inc.; Zahida Trans., Inc.; Zando Cab, Inc.; Zicky Cab, Inc.; Zubir, Inc.(collectively referred

to as “Plaintiffs”), complaint against defendants Uber Technologies, Inc. (“Uber”) as follows:



                                        INTRODUCTION

1. Plaintiffs provide taxi services and manage leased taxi cabs in the Cities of



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    Boston, Cambridge, Somerville, Everett, Worcester and Towns of Randolph, Arlington,

    Belmont, Barnstable, Yarmouth, Dennis, Falmouth, and Braintree. They have invested

    substantial capital in complying with municipal rules and state laws applicable to ride for

    hire transportation, developed over the last several decades, that protect consumers, ensure

    public safety, and provide non-discriminatory service.

2. Uber has created an illegal transportation service that violates state laws and municipal

   ordinances and deceives consumers regarding, inter alia: the fares they must pay to use

   Uber’s services; the safety of the vehicles used by and/or on behalf of Uber and the

   individuals driving those vehicles all of which results in Uber unfairly competing with the

   Plaintiffs and damaging the Plaintiffs.

                              PARTIES AND JURISDICTION

3. Gill & Gill, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 41 Malden St., Everett, Massachusetts 02149.

4. Nanak Naam, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 188 Brook Street, E. Boston, Massachusetts 02128.

5. Amritsar Express, Inc. is a Massachusetts corporation and maintains a principal

   place of business at 41 Malden St., Everett, Massachusetts 02149.

6. Sonny and Bobby Trans., Inc. is a Massachusetts corporation and maintains a principal

   place of business at 41 Malden St., Everett, Massachusetts 02149.

7. Gill Trans., Inc., is a Massachusetts corporation and maintains a principal

   place of business at 233 Lexington St., E. Boston, Massachusetts 02128.

8. Finos Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 300 Adams St., Dorchester, Massachusetts 02122.



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9. Charlene Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

10. Mytasha Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

11. Wyoming Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

12. Edward’s Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

13. Curtis Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business 300 Adams St., Dorchester, Massachusetts 02122.

14. My Father Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

15. Mic-Paul Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

16. A. Stacy Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

17. Patti Pie Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

18. McGaff Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

19. Rawan Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 300 Adams St., Dorchester, Massachusetts 02122.

20. Spring Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business



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   at 300 Adams St., Dorchester, Massachusetts 02122.

21. Summers Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

22. Autumn Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

23. Winters Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

24. Bow Street Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

25. Blue Knight Taxi, Inc. is a Massachusetts corporation and maintains a principal place

   of business at 300 Adams St., Dorchester, Massachusetts 02122.

26. Chele Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 300 Adams St., Dorchester, Massachusetts 02122.

27. Christmas Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

28. GES Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business at

   300 Adams St., Dorchester, Massachusetts 02122.

29. Grand Sport Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

30. Breenie Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

31. Lil’s Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business at

   300 Adams St., Dorchester, Massachusetts 02122.



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32. Claire Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 300 Adams St., Dorchester, Massachusetts 02122.

33. Don-Lil Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

34. Andy’s Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

35. Boardman Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

36. Grove Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 300 Adams St., Dorchester, Massachusetts 02122.

37. Secret Squirrel Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 300 Adams St., Dorchester, Massachusetts 02122.

38. Navjit Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 627 Boylston St., #16, Boston, Massachusetts 02116.

39. Najjar Enterprises, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 22 R. Messina Dr., Braintree, Massachusetts 02184.

40. Bilga Inc.is a Massachusetts corporation and maintains a principal place of business at 103

   St. Andrew Road, E. Boston, Massachusetts 02128.

41. Jimmy 1, Inc. is a Massachusetts corporation and maintains a principal place of business at

   45 Beacon Street, Arlington, Massachusetts 02474.

42. Anju Trans Incorporated is a Massachusetts corporation and maintains a principal place of

   business at 45 Beacon Street, Arlington, Massachusetts 02474.




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43. Deep Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

   30 Garland Ave Apt 2. Malden, Massachusetts 02148.

44. 116 Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

   213 Hartford St., Apt. 1 Westwood, Massachusetts 02090.

45. A. Tammy Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 103 Fulkerson St., Cambridge, Massachusetts 02141.

46. AAA Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

   103 Fulkerson St., Cambridge, Massachusetts 02141.

47. Abbas Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 18 Colbert Wt., West Roxbury, Massachusetts 02132.

48. Abbed Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 37 Bradley St., #2, Somerville, Massachusetts 02143.

49. ABCD Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 103 Fulkerson St., Cambridge, Massachusetts 02141.

50. Absolute Taxi of Cambridge, Inc. is a Massachusetts corporation and maintains a principal

   place of business at 16 Maine Ave #2, Somerville, Massachusetts 02145.

51. Addis Ababa, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 778 Huntington Ave., Unit 9, Boston, Massachusetts 02115.

52. Addis Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 134 Clair Ave., Hyde Park, Massachusetts 02136.

53. Advantage Taxi of Cambridge, Inc. is a Massachusetts corporation and maintains a principal

   place of business at 16 Maine Ave #2, Somerville, Massachusetts 02145.




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54. Ahram Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 4 1/2 Centre St., #3, Roxbury, Massachusetts 02114.

55. Aldine Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 16 Cunningham Street, Dorchester, Massachusetts 02125.

56. Alen's Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 8-10 Larkin Rd., Medford, Massachusetts 02155.

57. Alexandria Trans., Inc. is a Massachusetts corporation and maintains a principal place of

   business at 1744 North Shore Rd. #1, Revere, Massachusetts 02151.

58. Alganes Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 25 Cluster St., #106, Jamaica Plain, Massachusetts 02113      .

59. Alpha Omega Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 84 Braintree Street, Allston, Massachusets 02134.

60. Alta Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business at

   34 Pleasantdale Rd., W. Roxbury, Massachusetts 02132.

61. Amar Trans., Inc. is a Massachusetts corporation and maintains a principal place of business

   at 22 John St., Malden, Massachusetts 02148.

62. An Yin Pa Ta, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 84 Braintree Street, Allston, Massachusetts 02134.

63. Anderson & Joshua Cab, Inc., is a Massachusetts corporation and maintains a principal

   place of business at 778 Huntington Avenue, Boston, Massachusetts 02155.

64. Ange & Michelle, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 6 Heathcote St., Roslindale, Massachusetts 02131.




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65. Angereb, Inc.is a Massachusetts corporation and maintains a principal place of business at

   140 Minden St., Jamaica Plain, Massachusetts 02130.

66. ANH Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

   3610 Mystic Valley Pkwy #1203, Medford Massachusetts 02155.

67. Anna Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

   49 Pennsylvania Ave., Somerville, Massachusetts 02145.

68. Anpaul Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 120 Braintree Street, Allston, Massachusetts 02134.

69. Antonio & Franco, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 40 Clifton Street, #22, Cambridge, Massachusetts 02140.

70. Ariel & Japheth, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 22 Rockdale St., Apt. 2, Mattapan, Massachusetts 02126.

71. Aristocrats Ambiance Taxi, Inc. is a Massachusetts corporation and maintains a principal

   place of business at 22 Rockdale St., Apt. 2, Mattapan, Massachusetts 02126 .

72. Arnold Court Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 76 Hampshire St., Cambridge, Massachusetts 02139.

73. Aubanel Trans., Inc. is a Massachusetts corporation and maintains a principal place of

   business at 146 Berkshire St., #1 Cambridge, Massachusetts 02141.

74. August Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

75. Azin Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business at

   31 Peterborough St., Boston, Massachusetts 02215.




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76. Baba Nanak Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 120 Braintree St., Allston, Massachusetts 02134.

77. Bainet Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 27 Polley Lane, Walpole, Massachusetts 02032.

78. Banwait Trans., Inc. is a Massachusetts corporation and maintains a principal place of

   business at 37 Radcliffe Rd. #1, Somerville, Massachusetts 02145.

79. Baran Trans., Inc. is a Massachusetts corporation and maintains a principal place of business

   at 39 Clarkwood Street, Mattapan, Massachusetts 02126.

80. BB Taxi Express, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 120 Warren St., Apt 20, Brighton, Massachusetts 02135.

81. BBJ Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

   13 Everett Ave #2, Somerville, Massachusetts 02145.

82. BenBen Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 92 Harvard Ave., Hyde Park, Massachusetts 02136.

83. Benito & Roseline Cab, Inc. is a Massachusetts corporation and maintains a principal place

   of business at 75 Pierce Street, Hyde Park, Massachusetts 02136.

84. Beno Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

   20 N. Richwood Ave, Randolph, Massachusetts 02368.

85. Bern. & Y. Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 26 Corey Street, Apt 2, Everett, Massachusetts 02149.

86. Best is Best Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 1030 Hyde Park Avenue, Hyde Park, Massachusetts 02136.




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87. Bethel Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 389 Ashmont Street, Dorchester, Massachusetts 02124.

88. Betru Ami Corp. is a Massachusetts corporation and maintains a principal place of business

   at 9 Carol Circle, Apt. 203 W. Roxbury, Massachusetts 02132.

89. Bhargo Inc. is a Massachusetts corporation and maintains a principal place of business at

   153 Central St., #1 Somerville, Massachusetts 02145.

90. Binyamin Cab, Inc.is a Massachusetts corporation and maintains a principal place of

   business at 84 Braintree St., Allston, Massachusetts 02134.

91. BKMB, Inc. is a Massachusetts corporation and maintains a principal place of business at 41

   Vernal Street, Everett, Massachusetts 02149.

92. Briol Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

   223 Albany St., Boston, Massachusetts 02110.

93. Britney Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

   at 7 Walker Street, Hyde Park, Massachusetts 02136      .

94. Brothers Cab, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 845 River Street, Hyde Park, Massachusetts 02136 .

95. C & G Leasing, Inc. is a Massachusetts corporation and maintains a principal place of

   business at 120 Braintree St., Allston, Massachusetts 02215.

96. C.E.F. Cab, Inc.is a Massachusetts corporation and maintains a principal place of business

     at 914 Canterbury St., Roslindale, Massachusetts 02131.

97. Cambridge Cab Connection, Inc. is a Massachusetts corporation and maintains a principal

     place of business at 2464 Mass. Ave, Cambridge Massachusetts 02139.




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98. Cambridge Classic Cab, Inc. is a Massachusetts corporation and maintains a principal

     place of business at 126 Jerome St., Medford, Massachusetts 02155.

99. Cambridge Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 44 Magoun Ave., Medford, Massachusetts 02155.

100. Carlon Trans., Inc. is a Massachusetts corporation and maintains a principal place of

     business at 6 Beauford Lane, Dorchester, Massachusetts 02301.

101. Cathul, Inc. is a Massachusetts corporation and maintains a principal place of business at

     11 Dell Avenue, Hyde Park, Massachusetts 02136.

102. Cayes Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

     at 50 Austin St., Hyde Park, Massachusetts 02136.

103. Cayes II Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 50 Austin St., Hyde Park, Massachusetts 02136.

104. Cecilard Transportation, Inc. is a Massachusetts corporation and maintains a principal

     place of business at 52 Charles St., Hyde Park, Massachusetts 02136.

105. Central Square, Cab, Inc. is a Massachusetts corporation and maintains a principal place

     of business at 103 Fulkerson St., Cambridge, Massachusetts 02141.

106. Charlie Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 358 Chestnut Hill Ave., Ste 306, Brighton, Massachusetts 02135            .

107. Chenal Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 7 Walker Street, Hyde Park, Massachusetts 02136          .

108. Chris and Junior, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 84 Braintree St., Allston, Massachusetts 02134.




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109. Christopher Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 180 Seaver St., Dorchester, Massachusetts 02120.

110. Christopher's Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 45 Rose Court, Norwood, Massachusetts 02062.

111. Cleo Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

     at 738 Hyde Park Avenue, Roslindale, Massachusetts 02136.

112. Clerna Corp. is a Massachusetts corporation and maintains a principal place of business at

     64 Richmere Rd., Mattapan, Massachusetts 02126.

113. Coretta, Inc. is a Massachusetts corporation and maintains a principal place of business at

     20 Parker St., Hyde Park, Massachusetts 02136.

114. Crossroad Trans. Inc. is a Massachusetts corporation and maintains a principal place of

     business at 213 Hartford St., Apt. 1 Westwood, Massachusetts 02090           .

115. Croyance Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 63 Sierra Road, Apt 4, Hyde Park, Massachusetts 02136.

116. Cyrilo Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

     at 96 Annafran St., Roslindale, Massachusetts 02131.

117. Dadoo Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 358 Chestnut Hill Ave., Ste. 306, Brighton, Massachusetts 02135.

118. Dady-Phone, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 778 Huntington Avenue, #9, Boston, Massachusetts 02151.

119. Dalul, Inc. is a Massachusetts corporation and maintains a principal place of business at

     405 Massachusetts Ave., Ste. B1, Boston, Massachusetts 02128.




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120. Daphne Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 306 Georgetown Drive, Hyde Park, Massachusetts 02136            .

121. De Lerebours, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 90 Wood Ave., Mattapan, Massachusetts.

122. Debra Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

     at 1030 Hyde Park Avenue, Hyde Park, Massachusetts 02136             .

123. Delivrance Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 103 Fulkerson St., Cambridge, Massachusetts 02141?

124. Demosterne, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 219 Delphi St., Apt. 20, Mattapan, Massachusetts 02126.

125. Deruka Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 812 Memorial Drive, Unit 1406, Cambridge, Massachusetts 02139.

126. Desdunes Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 65 Tayor St., Malden, Massachusetts 02148.

127. Desdunes United, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 67 Taylor St., Malden, Massachusetts 02148.

128. Dieu Est Bon, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 39 Clarkwood Street, Mattapan, Massachusetts 02126.

129. Dillons Trans., Inc. is a Massachusetts corporation and maintains a principal place of

     business at 103 Saint Andrew Road, E. Boston, Massachusetts 02108.

130. Dophy Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 9 Winston Street, Apt 2, Roslindale, Massachusetts 02368.




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131. Dou Dou Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 144 Arlington St., Watertown, Massachusetts 02451.

132. Douceur Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 7 Walter St., Hyde Park, Massachusetts 02136.

133. Dreamers Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 4 Ewer St., So. Boston, Massachusetts 02127.

134. E. and Anne Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 12 Adamson St., Allston, Massachusetts 02134.

135. E.D.R. Cab, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 171 Harvard St., Medford, Massachusetts.

136. Eagle Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

     at 18 Pond St., Stoneham, Massachusetts 02180.

137. Eben-Ezer Taxi Cab, In. is a Massachusetts corporation and maintains a principal place of

     business at 53 Fawndale Road, Roslindale, Massachusetts 02131.

138. Edward Noel, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 53 Fawndale Road, Roslindale, Massachusetts 02131.

139. El Chalday, Inc. is a Massachusetts corporation and maintains a principal place of

     business at 442 River Street, #5, Mattapan, Massachusetts 02126.

140. Elan Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

     at 45 Pierce St., Hyde Park, Massachusetts 02136.

141. Eliot Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.




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142. Elizabeth Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 103 Fulkerson St., Cambridge, Massachusetts 02141.

143. Elpoorag, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 4 1/2 Centre St., #3, Roxbury, Massachusetts 02114.

144. Elysse Corporation is a Massachusetts corporation and maintains a principal place of

      business at 94 Flint St., Somerville, Massachusetts 02145.

145. Elzira & Luc Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 4 Regent Place, Lynn, Massachusetts 01905.

146. Ematesse Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 55 Brookledge St., Apt. 6, Boston, Massachusetts 02121.

147. Emily & Kelly Cab, Inc. is a Massachusetts corporation and maintains a principal place

      of business at 11 Ellis Ave., Medford, Massachusetts 02155.

148. Enchante Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 22 Rockdale St., Apt. 2, Mattapan, Massachusetts 02126.

149. Era Et Labora, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 3903 Washington Street, #3, Roslindale, Massachusetts 02131.

150. Eric & Maria Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 80 Bradbury Ave, Medford, Massachusetts 02155.

151. Esperanta Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 140 Ruskindale Rd., Hyde Park, Massachusetts 02136.

152. ET Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 30 Perley Evans Dr., Randolph, Massachusetts 02368.




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153. Eureka Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 20 Hamilton Rd., Woburn, Massachusetts 01801.

154. F. Edel, Inc. is a Massachusetts corporation and maintains a principal place of business at

      44 School St, B-6, Boston, Massachusetts 02108.

155. Fafou Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at57 Rustcraft Rd., Dedham, Massachusetts 02026 .

156. Farb, Inc. is a Massachusetts corporation and maintains a principal place of business at

      61 Wellington Hill St., Mattapan, Massachusetts 02126.

157. Fatima Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 65 Morton Village dr., #411, Mattapan, Massachusetts 02126.

158. Fedsen & Tedsen, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 106 Clarkson St., Dorchester, Massachusetts 02125.

159. First Street Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 103 Fulkerson St., Cambridge, Massachusetts 02141.

160. Fledo, Inc. is a Massachusetts corporation and maintains a principal place of business at

      128 Chittick Rd., Hyde Park, Massachusetts 02136.

161. Flying Carpet Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 28 Wooodside Dr., Milton, Massachusetts 02186.

162. Four J's Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 32 Forest St., Boston, Massachusetts 02119.

163. G & J Cab Inc. is a Massachusetts corporation and maintains a principal place of business

      at 36A Gloucester St., Arlington, Massachusetts 02476.




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164. G. and E. Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 11 Dell Avenue, Hyde Park, Massachusetts 02136.

165. G. Jose Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 21 Walnut St., Everett, Massachusetts 02149.

166. G.G.M. Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 20 Marshall St. #3 Medford, Massachusetts 02155.

167. Gabrielle Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 203 Forest Street, Malden, Massachusetts 02148.

168. GADL Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 55 Washington St., Medford, Massachusetts 02155.

169. Gagan Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 84 Braintree Street, Allston, Massachusetts 02134.

170. Ganga, Inc. is a Massachusetts corporation and maintains a principal place of business at

      225 Lexington St., E. Boston, Massachusetts 02128 .

171. Geolange, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 34 Pleasantdale Rd., W. Roxbury, Massachusetts 02132.

172. Giorgio's Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 45 Rose Court, Norwood, Massachusetts 02062.

173. God is Good, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 12 Adamson St., Allston, Massachusetts 02134.

174. Godavari, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 103 Saint Andrew Rd., E. Boston, Massachusetts 02128.




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175. Carly Cab, Inc. is a Massachusetts corporation and maintains a principal   place of

   business at 1631 Hyde Park Ave.Hyde Park, Massachusetts 01453.

176. GOH Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 8 Douglas Park, Unit 8, Boston, Massachusetts 02118.

177. Golden Temple Trans., Inc. is a Massachusetts corporation and maintains a principal

      place of business at 99 Gladston Street, East Boston, Massachusetts 02128 .

178. Good Time Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

179. Grand Canyon, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 103 Saint Andrew Rd., # 21 E. Boston, Massachusetts 02128.

180. Green Land, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 106 Clarkson St., Dorchester, Massachusetts 02125.

181. Green Stripe Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1145 Blue Hill Ave., Dorchester, Massachusetts 02124.

182. Guru Gobind Cab, Inc.is a Massachusetts corporation and maintains a principal place of

      business at 74 Flint St. Somerville, Massachusetts 02145.

183. Guru Tegh Bhadur Cab, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 34 Flint St., Somerville, Massachusetts 02145.

184. Guru Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 39 Florence Ave., Revere, Massachusetts 02151.

185. H & L Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 23 Maple Ave., Somerville, Massachusetts 02145.




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186. Haama Trans, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 778 Huntington Ave., Unit 9, Boston, Massachusetts 02115.

187. Homano & Carl Taxi, Inc. is a Massachusetts corporation and maintains a principal place

      of business at 90 Cherry St., Brockton, Massachusetts 02401.

188. Hanef Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 120 Braintree St., Allston, Massachusetts 02215 .

189. Hare Hare Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 286 Bolton St., So. Boston, Massachusetts 02127.

190. Hare Krishna Trans., Inc. is a Massachusetts corporation and maintains a principal place

      of business at 286 Bolton St., So. Boston, Massachusetts 02127.

191. Hare Ram Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 286 Bolton St., So. Boston, Massachusetts 02127.

192. Harsh Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 58A Marshall St., Somerville, Massachusetts 02145.

193. Harvard Square Cab, Inc. is a Massachusetts corporation and maintains a principal place

      of business at 103 Fulkerson St., Cambridge, Massachusetts 02141.

194. Hattie Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 300 Adams St., Dorchester, Massachusetts 02122.

195. Hawelti Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 15 Parker Avenue #1, Boston, Massachusetts 02105.

196. Hernandez Transportation, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 126 Pennsylvania Ave, Somerville, Massachusetts 02145.




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197. Himalaya, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 223 Lexington St., E. Boston, Massachusetts 02128.

198. Hiram's Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 400 Marston Rd., Whitinsville, Massachusetts 02145.

199. Impeccable Trans, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 778 Huntington Avenue, Boston, Massachusetts 02155.

200. Inman Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 18 Clary Street, Cambridge, Massachusetts 02141.

201. IQRA Enterprise, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 120 Braintree St., Allston, Massachusetts 02134 .

202. Isaih Mathew, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 53 Fawndale Road, Roslindale, Massachusetts 02131.

203. ITA Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 34 Pleasantdale Rd., W. Roxbury, Massachusetts 02132.

204. J.W. Cab Incorporated is a Massachusetts corporation and maintains a principal place of

      business at 28 Wooodside Dr., Milton, Massachusetts 02186.

205. Jacqueline Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1022 Canterbury St., Roslindale, Massachusetts 02131.

206. Jacquet Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 6 Claron St., Roslindale, Massachusetts 02131.

207. Jai Gurudev, Corporation is a Massachusetts corporation and maintains a principal place

      of business at 169 Harvard St., Allston, Massachusetts 02134        .




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208. Jane Mary Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 358 Chestnut Hill Ave., Ste. 306, Brighton, Massachusetts 02135.

209. Jason Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 6 Heathcote St., Roslindale, Massachusetts 02131.

210. Jave Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 213 Hartford St., Apt. 1 Westwood, Massachusetts 02090.

211. Jazz Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 4 Ewer St., So. Boston, Massachusetts 02127.

212. Je Crois en Dieu, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 845 River St., #1 Hyde Park, Massachusetts 02136.

213. Jeahanna Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 10 Park View St., Dorchester, Massachusetts 02121.

214. Dependable Dispatch LLC is a Massachusetts Limited Liability Company with a

   principal place of business at 8 Fulling Mill Lane, Hingham, MA 02043.

215. Jeffrey & Tanisha, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 919 Hyde Park Avenue #3, Hyde Park, Massachusetts 02136.

216. Jehovah Jureh, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 442 River Street, #5, Mattapan, Massachusetts 02126.

217. Jelus Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 24 Glendale St., Somerville, Massachusetts 02144        .

218. Jeremie Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 116 Dana Ave, Hyde Park, Massachusetts 02136.




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219. Jezil Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 21 Walnut St., Everett, Massachusetts 02149.

220. JFL Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 2464 Mass. Ave, Rm 440, Cambridge Massachusetts 02139.

221. JMF Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 472 Metropolitan Ave., Hyde Park, Massachusetts 02136 .

222. JOJO E.M. Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 9 Landor Rd., Mattapan, Massachusetts 02126.

223. Joune, Inc. is a Massachusetts corporation and maintains a principal place of business at

      11 Dell Avenue, Hyde Park, Massachusetts 02136.

224. Joyse Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 76 Hampshire St., Cambridge Massachusetts 02139.

225. Jude Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 38 Dexter St., Medford, Massachusetts 02155.

226. JV Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 102 Levermore St., #D8, Mattapan, Massachusetts 02126.

227. K. Heyden, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 11 Dell Avenue, Hyde Park, Massachusetts 02136.

228. Kalkat Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 90 Lost Pone Lane, No. Andover, Massachusetts 01845 .

229. Kartar Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 63 Clarissa Joseph Rd., Plymouth, Massachusetts 02360.




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230. Kassie Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 16 Cunningham St., Dorchester, Massachusetts 02125.

231. KBS Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 84 Braintree St., Allston, Massachusetts 02134.

232. Kendra Corporation is a Massachusetts corporation and maintains a principal place of

      business at 15 Alfred Terrace, Medford, Massachusetts 02155.

233. Keshia Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 16 Cunningham St., Boston, Massachusetts 02125.

234. Ketterle Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

235. Kevin Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 97 Lexington St., E. Boston, Massachusetts 02128.

236. Khalsa Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 103 Saint Andrew Rd., # 21 E. Boston, Massachusetts 02128.

237. Khaveeri, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 103 Saint Andrew Rd., # 21 E. Boston, Massachusetts 02128.

238. Kohsar, Inc. is a Massachusetts corporation and maintains a principal place of business at

      18 Glencoe St., #39, Brighton, Massachusetts 02135.

239. Kripalu Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 111 Perkins St., #32, Jamaica Plain, Massachusetts 02132.

240. Krishana Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 286 Bolton St., So. Boston, Massachusetts 02127.




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241. Krishna Krishna Trans., Inc. is a Massachusetts corporation and maintains a principal

      place of business at 286 Bolton St., So. Boston, Massachusetts 02127.

242. Kurala Trans., Inc. is a Massachusetts corporation and maintains a principal place

      business at 50 Parkdale St., Somerville, Massachusetts 02143.

243. La Boule De Feu, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1831 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

244. La Diligence, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 854 Truman Hgwy, Hyde Park, Massachusetts 02136.

245. La Trinite, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 98 Keystone Street, W. Roxbury, Massachusetts 02132.

246. Laracine, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 12 Adamson Street, Allston, Massachusetts 02134.

247. Larrieux Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 105 Lonsdale Street, #1, Dorchester, Massachusetts 02124.

248. Larrouse Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 92 Harvard Ave., Hyde Park, Massachusetts 02136.

249. Le Bon Berger, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 778 Huntington Avenue, Boston, Massachusetts 02155.

250. Lele Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02131.

251. Les Gens Du Nord, Inc. is a Massachusetts corporation and maintains a principal place

      of business at 919 Hyde Park Ave., Hyde Park, Massachusetts 02136.

252. Les-Mar Taxi, Inc. s a Massachusetts corporation and maintains a principal place of

      business at 4 Ewer St., So. Boston, Massachusetts 02127.
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253. Lexington Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 28 Wooodside Dr., Milton, Massachusetts 02186.

254. Leyna Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 845 River St., Hyde Park, Massachusetts 02136.

255. Lideta Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 778 Huntington Ave., Unit 9, Boston, Massachusetts 02115.

256. L'Oiseau Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 9 Mercer Street, Hyde Park, Massachusetts 02136.

257. Loren Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

258. Louine Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 7 Washington St., #2 Everett, Massachusetts 02149.

259. Lovely One, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 80 Gleaside Ave., #2, Mattapan, Massachusetts 02126.

260. Lunica, Inc. is a Massachusetts corporation and maintains a principal place of business at

      40 Charme Ave., Roslindale, Massachusetts 02131.

261. Lysette & Jardus, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 22 Rockdale St., Apt. 2, Mattapan, Massachusetts 02126.

262. M and J Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 12 Davis St., Malden, Massachusetts 02148.

263. M. & D. Brothers, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 157 Homestead St., Apt 4, Boston, Massachusetts 02121.




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264. M. Angelo Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 16 Cunningham St., Dorchester, Massachusetts 02125.

265. Mahnoor Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 111 Perkins St., #287, Jamaica Plain, Massachusetts 02132.

266. Majid, Inc. is a Massachusetts corporation and maintains a principal place of business at

      5114 Washington Street, West Roxbury, MA 02132.

267. Makonnen Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 139 Core Road, Brockton, Massachusetts 02402 .

268. Manhar, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 286 Bolton St., So. Boston, Massachusetts 02127.

269. Manor Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 776 Shawmut Ave Unit 12, Roxbury, Massachusetts 02119.

270. Marcus Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 10 Townsend #2, Malden, Massachusetts 02148 .

271. Mark & S, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 6 Ayles Road, Hyde Park, Massachusetts 02136.

272. Martha's Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 64 Plymouth Dr., 1C, Norwood, Massachusetts 02062.

273. Marzeneb, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 5 Walden Sq. Rd. Apt. 128, Cambridge, Massachusetts 02140.

274. Mas Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 92 Harvard St., Hyde Park, Massachusetts 02136.




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275. Matelots, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 127 Beaver Street, Hyde Park, Massachusetts 02136.

276. Mava Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 32 Hosmer St., Mattapan, Massachusetts 02126 .

277. MCG Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 2 Overlook Ave, Burlington, Massachusetts 01803.

278. Megan Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

279. Mehrose, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 466 Summer St., Brockton, Massachusetts 02302.

280. Meklit Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 243 Columbia Rd #3, Dorchester, Massachusetts 02121 .

281. Melchisedek Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 180 Seaver St., Dorchester, Massachusetts 02120.

282. Mera Soami, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 120 Braintree St., Allston, Massachusetts 02134 .

283. Meshualekia, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 778 Huntington Ave., Unit 9, Boston, Massachusetts 02115.

284. Mew Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 39 Clarkwood Street, Mattapan, MA 02126.

285. MGP Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 4 Cedar Ave., Randolph, Massachusetts 02368.




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286. Micasta Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 142 Dakota St., Dorchester, Massachusetts 02122.

287. Michael Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 457 Somerville Ave., Somerville, Massachusetts 02143 .

288. Millennium Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 116 Dana Ave, Hyde Park, Massachusetts 02136.

289. Mirka Inc. is a Massachusetts corporation and maintains a principal place of business at

      778 Huntington Ave., Unit 9, Boston, Massachusetts 02115 .

290. MIT Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 103 Fulkerson St., Cambridge, Massachusetts 02141.

291. Mitachal Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 40 Mount Hope Street, Roslindale, Massachusetts 02131.

292. MJ Taxi Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 17 Ross St., Medford, Massachusetts 02155.

293. Mobarak Cab, Incorporated is a Massachusetts corporation and maintains a principal

      place of business at 28 Wooodside Dr., Milton, Massachusetts 02186        .

294. Mogadishu Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 570 Shamut Ave., Apt 3B, Boston, Massachusetts 02118.

295. Mona Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 28 Wooodside Dr., Milton, Massachusetts 02186.

296. MSW Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 162 Columbia St., Malden, Massachusetts 02148.




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297. Mt. Carmelle Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1030 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

298. Mt. Everest, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 103 Saint Andrew Rd.,# 21 E. Boston, Massachusetts 02128.

299. Mugal Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 120 Braintree St., Allston, Massachusetts 02215 .

300. Munny Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 286 Bolton St., So. Boston, Massachusetts 02127.

301. My Nathalie Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 50 Austin St., Hyde Park, Massachusetts 02136.

302. My Yasmina Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 50 Austin St., Hyde Park, Massachusetts 02136.

303. N M R Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 24 Granfield Avenue, Roslindale, Massachusetts 02131.

304. Nada, Inc. is a Massachusetts corporation and maintains a principal place of business at

      144 Arlington St., Watertown, Massachusetts 02451 .

305. Nahar Singh Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 120 Braintree St., Allston, Massachusetts 02215 .

306. Naju, Inc. is a Massachusetts corporation and maintains a principal place of business at

      1030 Hyde Park Avenue, Hyde ParK, Massachusetts 02136 .

307. Nancy Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.




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308. Nativity Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

309. Natou Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

310. Neges Jr., Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 93 Brookline St., Cambridge, Massachusetts 02139.

311. Nek Fab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 7 Hesson Terr., Dorchester, Massachusetts, 02125.

312. Nel & Son, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 845 River St., Hyde Park, Massachusetts 02136.

313. Nelcheri Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 34A Glendale Ave., Somerville, Massachusetts 02144.

314. New Invision, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 102 Henry St., Malden, Massachusetts 02148.

315. Next Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 17 Carmel St., Roxbury, Massachusetts 02120.

316. Nicky Trans, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 173 Eliot St. Milton, Massachusetts 02186.

317. Nimrah Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 111 Perkins St., #32, Jamaica Plain, Massachusetts 02132.

318. NKB Cab, Inc.is a Massachusetts corporation and maintains a principal place of business

      at 274 Tremont St., Boston, Massachusetts 02150.




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319. No No Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02131.

320. Noma Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 39 Fourth St, Apt. 2, Medford, Massachusetts 02155.

321. Noor Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 163 Byron Street, Apt 1, East Boston, Massachusetts 02128.

322. O.D.J. Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 17 Ross St., Medford, Massachusetts 02155.

323. Ohm, Shiva & Ganesh Cab, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 34 Flint St., #1, Somerville, Massachusetts 02145.

324. On Y Va Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      Business at 11 Dell Avenue, Hyde Park, MA 02136.

325. Onkar Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 63 Clarissa Joseph Rd., Plymouth, Massachusetts 02360.

326. Orow, Inc. is a Massachusetts corporation and maintains a principal place of business at

      2 Douglas Park, #4, Roxbury, Massachusetts 02118.

327. P & G Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 845 River St., Hyde Park, Massachusetts 02136.

328. P & P Dumerant Corp is a Massachusetts corporation and maintains a principal place of

      business at 45B Circuit Street, Roxbury, Massachusetts 02119.

329. P & S Taxi Corp. is a Massachusetts corporation and maintains a principal place of

      business at 500 Salem St., Medford, Massachusetts 02155.




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330. P.B. Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 99 Gladston Street, East Boston, Massacusetts 02128.

331. P.I. Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 31 Peterborough St., Boston, Massachusetts 02215.

332. Pable Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 58 Franklin St., Peabody, Massachusetts 01960.

333. Pafou Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 57 Rustcraft Rd., Dedham, Massachusetts 02026.

334. Pal Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 4 Ewer St., So. Boston, Massachusetts 02127.

335. Paloma Transportation, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 148 Hutchinson St., Revere, Massachusetts 02151.

336. Papeso Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 12 Walden Square, Apt 315, Cambridge, Massachusetts 02140 .

337. Papu, Inc. is a Massachusetts corporation and maintains a principal place of business at

      286 Bolton St., So. Boston, Massachusetts 02127.

338. Parvati Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 34 Flint St., #1, Somerville, Massachusetts 02145.

339. Patience Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 32 Bay Street, Unit 1, Dorchester, Massachusetts 02125.

340. Patrick Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 56 Patten St., Jamaica Plain, Massachusetts 02130.




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341. Paul Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

342. Petit Goave Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 43 Boston St #2 Malden, Massachusetts 02148.

343. PH & KN, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 84 Braintree St., Allston, Massachusetts 02134.

344. Phatricksey Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 685-687 River St., Mattapan, Massachusetts 02362.

345. Pidi Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 5 Hawthorne St., Apt. 5 Everett, Massachusetts 02149.

346. Praise the Lord, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 760 Metropolitan Avenue, #2, Hyde Park, Massachusetts 02136.

347. Nu-Checker, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 14 Alstead Path., Millbury, Massachusetts 01527.

348. Promise Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 52 Harriet Avenue, Burlington, Massachusetts 02154.

349. Punjab Trans., Inc is a Massachusetts corporation and maintains a principal place of

      business at 223 Lexington St., E. Boston, Massachusetts 02128.

350. Queen Jessica Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 4 Crown Street, Mattapan, Massachusetts 02126.

351. R. Candy Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 120 Braintree Street, Allston, Massachusetts 02134.




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352. Raavi Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 103 Saint Andrew Rd., # 21 E. Boston, Massachusetts 02128.

353. Radha Soami, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 21 Albert Park, Everett, MA 02149.

354. Radha Swami Bias, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 10 Dalton St., Dorchester, Massachusetts 02128.

355. Radha Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 111 Perkins St., #32, Jamaica Plain, Massachusetts 02132.

356. Rai Transportation, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 22 Loring St. #1, Somerville, Massachusetts 02143.

357. Ramc Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 143 Hamilton St., Cambridge, Massachusetts 02139.

358. Randah Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 408 Bridge St., Dedham, Massachusetts 02026.

359. RB Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 103 Boston Ave., Somerville, Massachusetts 02146.

360. Rebecca Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 20 Parker St., Hyde Park, Massachusetts 02136.

361. Red Fish Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 417 Beech St., Roslindale, Massachusetts 02131.

362. Reham Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 195 Salem St., Medford, Massachusetts 02155.




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363. Renee Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

364. Renette & Francklyn, Inc. is a Massachusetts corporation and maintains a principal place

   of business at 12 Adamson Street, Allston, Massachusetts 02134.

365. Ricardo & Joanne Cab, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 69 Morland St., Somerville, Massachusetts 02145.

366. Ril-Tul Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 2464 Mass. Ave, Cambridge, Massachusetts 02139.

367. Rios Gon Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1 Gerrish St., Brighton, Massachusetts 02135.

368. Ripert Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 806 Canterbury Street, Roslindale, Massachusetts 02131.

369. Rival Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 20 Parker St., Hyde Park, Massachusetts 02136.

370. Robenson Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 84 Braintree St., Allston, Massachusetts 02134.

371. Rock Solid & Momone, Inc.is a Massachusetts corporation and maintains a principal

      place of business at 11 Dell Avenue, Hyde Park, Massachusetts 02136.

372. Rodney Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1145 Blue Hill Ave., Dorchester, Massachusetts 021424.

373. Rol & G, Inc.is a Massachusetts corporation and maintains a principal place of business

      at 32 Grandfield Avenue #2, Roslindale, Massachusetts 02131.




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374. Roly Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 600 Windsford Place, Somerville, Massachusetts 02143.

375. Roody's Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 217 Kennebec Street, Mattapan, Massachusetts 02126.

376. Rose Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

377. RP Excelsior, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 778 Huntington Avenue, Boston, Massachusetts 02155 .

378. Ruth Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 120 Braintree St., Allston, Massachusetts 02215.

379. S & J Inc. is a Massachusetts corporation and maintains a principal place of business at

      14 Maverick Sq., E. Boston, Massachusetts 02128.

380. Sami's Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 400 Marston Rd., Whitinsville, Massachusetts 02145.

381. Samuel Transportation, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 778 Huntington Ave., Unit 9, Boston, Massachusetts 02115.

382. Samyr Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 10 Woodville Terr., Cambridge, Massachusetts 02140.

383. Sasun Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 18 Colbert Wt., West Roxbury, Massachusetts 02132.

384. Satkartar, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 84 Braintree Street, Allston, Massachusetts 02134.




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385.   Satlouj, Inc. is a Massachusetts corporation and maintains a principal place of business at

       103 Saint Andrew Rd., # 21, E. Boston, Massachusetts 02128.

386. Satnum Cab, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 63 Clarissa Joseph Rd., Plymouth, Massachusetts 02360.

387. Sea Wall Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 10 Pi Alley, Boston, Massachusetts 02108.

388. Selam Transportation, Inc. is a Massachusetts corporation and maintains a principal place

       of business at 282 Columbus Ave, Apt. 35, Boston, Massachusetts 02116.

389. Selon Dieu Cab, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 28-30 Lexington Avenue, #2, Hyde Park, Massachusetts 02136.

390. Shani Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 19 Pleasantview Street, Roslindale, Massachusetts.

391. Sheikh Trans., Inc. is a Massachusetts corporation and maintains a principal place of

       business at 18 Glencoe Street #39, Brighton, Massachusetts 02135.

392. Shiva, Ji Cab, Inc.     is a Massachusetts corporation and maintains a principal place of

   business at 34 Flint St., Somerville, Massachusetts 02145.

393. Shoopite Cab, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 40 Mount Hope Street, Roslindale, Massachusetts 02131.

394. Silva Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

       at 457 Somerville Ave., Somerville, Massachusetts 02143.

395. Singh Cab, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 103 Saint Andrew Rd., # 21 E. Boston, Massachusetts 02128.




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396. SJ Cab, Inc. is a Massachusetts corporation and maintains a principal place of business at

      97 Pennsylvania Ave, Somerville, Massachusetts 02145.

397. SJP Taxi, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 85 Foley St., Somerville, Massachusetts 02145.

398. Soeg Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 39 Summer Street, Medford, Massachusetts 02155.

399. Sosthene, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 20 Parker St., Hyde Park, Massachusetts 02136.

400. South Sudan Corp. is a Massachusetts corporation and maintains a principal place of

      business at 2 Douglas Park, #4, Boston Massachusetts 02118.

401. Splendide Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 506 Columbus Avenue, Boston, Massachusetts 02116.

402. St. Michel A, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 106 Clarkson St., Dorchester, Massachusetts 02125.

403. St. Richard Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 118 Faraday St., Hyde Park, Massachusetts 02136.

404. Sunset Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 100 Lorna Road, Mattapan, Massachusetts 02126.

405. Swami JI, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 10 Dalton St., Dorchester, Massachusetts 02128.

406. Symphony Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 223 Albany St., Boston, Massachusetts 02118.




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407. T & J Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 103 St. Andrew Rd., E. Boston, Massachusetts 02128.

408. Tabiking Express, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 8 Glenmore St., Mattapan, Massachusetts 02126.

409. TAJ Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 103 Saint Andrew Rd., #21, E. Boston, MA 02108.

410. Take it EZ Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 845 River Street, Hyde Park, Massachusetts 02136.

411. Talin Cab, Inc.is a Massachusetts corporation and maintains a principal place of business

      at 144 Arlington St., Watertown, Massachusetts 02451.

412. Tara Transportation, Inc. is a Massachusetts corporation and maintains a principal place

      of business at 60 Kilmarnock St., Boston, Massachusetts 02115.

413. Tarjan Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 120 Braintree St., Allston, Massachusetts 02134 .

414. Taxi Technology, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 57 Rustcraft Rd., Dedham, Massachusetts 02026.

415. Ted D. J. Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 14 Costello Circle So. Boston, Massachusetts 02119.

416. Teja Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 20 Melanie Lane, Arlington, Massachusetts 02474.

417. Telfort Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 140 Ruskindale Road, Hyde Park, Massachusetts.




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418. The 32 Summer St. Corp. is a Massachusetts corporation and maintains a principal place

      of business at 32 Summer St., Somerville, Massachusetts 02143.

419. Thomas Family, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 36 Rossmore St., Somerville, Massachusetts 02143.

420. TI Lou Lou Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 40 Clifton Street, #22, Cambridge, Massachusetts 02140.

421. Tina & Nina Trans., Inc. is a Massachusetts corporation and maintains a principal place

      of business at 18 Colbert Street, West Roxbury, Massachusetts 02132.

422. Tivy, Inc. is a Massachusetts corporation and maintains a principal place of business at

      1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

423. Town Taxi of Cape Cod, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 55 Bodick Road, Hyannis, Massachusetts 02601.

424. TR Cab, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 600 Windsor Place, Somerville, Massachusetts 02143.

425. Tremont Street Taxi, Inc. is a Massachusetts corporation and maintains a principal place

      of business at 27 Creighton St #1, Jamaica Plain, Massachusetts 02130.

426. Tristan & Vanessa Cab, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 92 Harvard St., Hyde Park, Massachusetts 02136.

427. TT, Inc. is a Massachusetts corporation and maintains a principal place of business at

      84 Braintree St., Allston, Massachusetts 02134.

428. Turk Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 302 Summer St., Brockton, Massachusetts 02302.




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429. Twins Brothers Transportation Inc. is a Massachusetts corporation and maintains a

       principal place of business at 29 Groveland Street, Mattapan, Massachusetts 02126.

430. Two Boys Cab, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 22 Carolina St., Medford, Massachusetts 02155 .

431. Two Girls Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 57 Rustcraft Rd., Dedham, Massachusetts 02026.

432. U & I Corp. is a Massachusetts corporation and maintains a principal place of business at

       19 Spencer St., Dorchester, Massachusetts 02124.

433. Ulysse Trans. Holding, Corp is a Massachusetts corporation and maintains a principal

       place of business at 92 Harvard St., Hyde Park, Massachusetts 02136.

434.   Ulysse's Cab, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 92 Harvard St., Hyde Park, Massachusetts 02136.

435. Vette Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 103 Fulkerson St., Cambridge, Massachusetts 02141.

436. Victoria cab, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 845 River Street, Hyde Park, Massachusetts 02136.

437. Virginia Cab, Inc. is a Massachusetts corporation and maintains a principal place of

       business at 53 Fawndale Road, Roslindale, Massachusetts 02131.

438. W.L.E.J., Inc. is a Massachusetts corporation and maintains a principal place of business

       at 15 William Street, Medford, Massachusetts 02155.

439. Wadh Bagh Singh Cab, Inc. is a Massachusetts corporation and maintains a principal

       place of business at 120 Braintree St., Allston, Massachusetts 02215.




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440. Walger, Inc. is a Massachusetts corporation and maintains a principal place of business at

      15 William Street, Medford, Massachusetts 02155.

441. Willky-Medgene, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 84 Braintree St., Allston, Massachusetts 02134.

442. Wilvens Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 20 Melvin Street, Somerville, Massachusetts 02145.

443. Yahweh Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 6 Beauford Lane, Dorchester, Massachusetts 02301.

444. Yamuna, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 20 Lelanie Ln. , Arlington, Massachusetts 02476.

445. Yellow Cab of Belmont, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 61 White St., PO Box 79068 Belmont Massachusetts 02179.

446. YHWH Sabaoth, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 751 Cummins Highway, Mattapan, Massachusetts 02126.

447. Yilma Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 715 Tremont St., Apt 709 Boston, Massachusetts 02118.

448. Yo Yo Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1631 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

449. Yoly-Carvens, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 82 Juniper Road, Hollbrook, Massachusetts 02343.

450. Yotille Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 457 Huntington Ave., Hyde Park, Massachusetts 02136 .




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451. You and I Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 23 Tacoma Street, Hyde Park, Massachusetts 02136.

452. You Too Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 1030 Hyde Park Avenue, Hyde Park, Massachusetts 02136.

453. Youssef, Inc. is a Massachusetts corporation and maintains a principal place of business

      at 97 Lexington St., East Boston, Massachusetts 02128.

454. Yves Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 96 Annfran Street, #96, Roslindale, Massachusetts 02131.

455. Zahida Trans., Inc. is a Massachusetts corporation and maintains a principal place of

      business at 75 Morton Village Dr. #213, Mattapan, Massachusetts 02126.

456. Zando Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 12 Adamson St., Allston, Massachusetts 02134.

457. Zicky Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 92 Harvard Ave., Hyde Park, Massachusetts 02136.

458. Zubir, Inc. is a Massachusetts corporation and maintains a principal place of business at

      175 William. F. McLellan Hwy, Ste. 4, E. Boston, Massachusetts 02128.

459. Garven’s Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 187 Coleman Street, Malden, Massachusetts 02148.

460. Red Cab of Worcester, Inc. is a Massachusetts corporation and maintains a principal

      place of business at 14 Alstead Path Millbury, Massachusetts 01527.

461. Bay City Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 14 Alstead Path Millbury, Massachusetts 01527.




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462. Fern, Inc. is a Massachusetts corporation and maintains a principal place of business at 14

      Alstead Path Millbury, Massachusetts 01527.

463. Franklin Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 180 Prescott Street, Worcester, Massachusetts 01605.

464. Taylor Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 180 Prescott Street, Worcester, Massachusetts 01605.

465. Tom’s Taxi, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 180 Prescott Street, Worcester, Massachusetts 01605.

466. Seven Hills Taxi Inc is a Massachusetts corporation and maintains a principal place of

      business at 180 Prescott Street, Worcester, Massachusetts 01605.

467. Viceroy Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 180 Prescott Street, Worcester, Massachusetts 01605.

468. Windsor Cab, Inc. is a Massachusetts corporation and maintains a principal place of

      business at 180 Prescott Street, Worcester, Massachusetts 01605.

469. Plaintiffs are engaged in interstate commerce and commerce within the

      Commonwealth.

470. Upon information and belief, defendant Uber is a Delaware corporation with

      principal offices at 1455 Market Street, San Francisco, California with an agent for

      service of process in Massachusetts C T Corporation Systems 155 Federal Street, Suite

      700, Boston, MA 02110. This Court has personal jurisdiction over Uber, as Uber operates

      a transportation-for-hire service in Boston and other Massachusetts communities,

      consisting of unlicensed personal vehicles owned by individual drivers and offered

      through a cut- rate service advertised by Uber as “UberX.”



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471. Upon information and belief, Defendant Rasier, LLC (“Rasier”), is a wholly owned

       subsidiary of Uber and is a Delaware limited liability company headquartered at 1455

       Market Street, San Francisco, California, 94103 with an office in Massachusetts at 186

       South St., Suite 20A, Boston, MA 02111 and as such, all allegations hereafter against

       Uber apply equally to Rasier to the extent Rasier was operating on behalf of Uber in

       Massachusetts. This Court has personal jurisdiction over Rasier, Rasier licenses Uber’s

       technology to operate as a TNC in Massachusetts.

472. Defendants Uber and Rasier are engaged in interstate commerce and in commerce within

       the Commonwealth of Massachusetts.

473. Jurisdiction is proper pursuant to 28 U.S.C. § 1332, as Uber and Rasier are foreign

       corporations doing business in Massachusetts and the amount in controversy exceeds

       $75,000.

474.   Venue is proper in this District pursuant to 28 U.S.C. § 1391.

                                             FACTS

Regulation of Taxis in the Greater Boston Area and Worcester

475. The taxi industry is highly regulated by state statutes, municipal rules and

       ordinances, and multiple agreements that specify how medallion owners, radio

       associations and drivers must operate together. These legal controls are designed to

       protect consumers and ensure that taxi services in their respective municipalities will

       operate both safely and reliably.

476. Pursuant to M.G.L. c. 40, § 22 and M.G.L. c. 159, municipalities have been given

       the authority to regulate vehicles used for the conveyance of persons for hire from place

       to place.



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477. Boston, Cambridge, Somerville, Everett, Randolph, Arlington, Belmont, Barnstable,

      Yarmouth, Dennis, Falmouth, Worcester and Braintree all enacted legislation for the

      regulation of the taxi and/or ride for hire industry (“collectively referred to as the “Taxi

      Rules”).

478. The City of Boston enacted Rule 403 through the Boston Police Hackney

      Carriage Unit, which applies to all vehicles “used or designed to be used for the

      conveyance of persons for hire from place to place within the city of Boston” and the

      Boston City Council enacted City of Boston Municipal Code ordinance 16–15.05

      paralleling Rule 403.

479. The City of Cambridge enacted City of Cambridge Ordinance, c. 5.20 Article 1 which

      applies to any party or entity “intending to do business as a taxicab for hire in the City of

      Cambridge.”

480. The Town of Braintree enacted Chapter 5-580 Taxi Cab Ride for Hire regulations which

      apply to all vehicles “for hire”.

481. The Town of Braintree held a hearing in 2015 and found that Uber was violating

      Braintree Ride for Hire regulations.

482. The City of Somerville enacted Chapter 13 Taxicabs, Taxi Stands and Taxi Operators

      which apply to ”every vehicle used or to be used for the conveyance of persons for hire

      for a fixed payment from place to place…”

483. The City of Everett enacted “An Ordinance Regulating the Licensure of Taxicabs in the

      City of Everett” which apply to “A car or similar conveyance which, together with the

      driver, offered for hire to transport on or more persons in Everett, or between a point in

      Everett and any point outside the City…”



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484. The Town of Randolph enacted “Rules and Orders for the Regulation of Carriages or

     Vehicles for Hire Promulgated by the Board of Selectmen” which apply to anyone

     “engage[d] in the business of transporting persons for hire in a carriage or vehicle within

     the limits of the Town of Randolph”.

485. The Town of Arlington enacted Hackney/Taxi Licensing Regulations that apply to ride

     for hire transportation in Arlington, MA.

486. The Town of Belmont enacted Chapter 60-900A which apply to “hackney carriages,

     taxicabs and vehicles for hire operated within the Town of Belmont”.

487. The Town of Barnstable enacted Town of Barnstable Taxi Cab Rules and Regulations

     which apply to persons engaged “in the business of transporting persons for hire in a

     vehicle”.

488. The Town of Yarmouth enacted Hackney/Taxi Licensing Regulations that apply to ride

     for hire transportation in Yarmouth, MA.

489. The Town of Dennis enacted “Town of Dennis Rules and Regulations for the Regulation

     of Vehicles for Hire” which apply to “a vehicle for hire in the Town of Dennis”.

490. The Town of Falmouth enacted Chapter 280 “Vehicles For Hire” which apply “the

     business of transporting persons for hire in a vehicle”.

491. The City of Worcester enacted “City of Worcester Revised Ordinances of 2008 Part I D

     section 15 et seq. (as amended) which apply to “taxicabs and liveries for the conveyance

     of persons for hire”.

492. The current version of the Taxi Rules are the product of decades of revisions,

     designed to protect consumers, ensure public safety, safeguard competition, and provide

     nondiscriminatory taxi services to all areas of the city and to the elderly and disabled.



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     Plaintiffs and all licensed taxi owners operating in Boston, Cambridge, Somerville,

     Everett, Randolph, Arlington, Belmont, Barnstable, Yarmouth, Dennis, Falmouth,

     Worcester and Braintree have invested significant capital and resources to develop

     systems and infrastructure that meet the broad-ranging requirements of the Taxi Rules.

493. The Taxi Rules apply to not just those owning or driving a “ride for hire vehicle” but

     also to any person or entity like Uber that “has charge of” or control of a “ride for

     hire” vehicle. The Taxi Rules use three fundamental methods of ensuring that taxi

     service is safe, reliable, and nondiscriminatory:

     first, the municipalities issue a limited number of taxi licenses, or taxi “medallions,” in

     the case of Boston, Cambridge, Somerville, Arlington, Everett and Worcester. Prior to

     more recent legislative action and during the period plaintiffs were damaged as alleged

     herein, a taxicab cannot operate legally in any of said municipalities without a city-issued

     taxi license and license owners must have cabs that meet strict requirements concerning

     vehicle age, condition, and installed equipment (for example, computerized dispatch

     machines, taximeters and approved credit card machines). Second, in Boston if you own

     more than 3 cabs, every cab must be a member of an approved “radio association.” Third,

     every taxi driver in the aforesaid municipalities must have a license to operate a taxi cab

     within the relevant municipality and comply with extensive rules of conduct promulgated

     by the municipality (for example, requirements for dealing with handicapped passengers,

     allowed fares and charges, anti-discrimination requirements and prohibitions on cell

     phone use).

     Uber

494. Uber is an interstate transportation service that, in the relevant Ride-Hail Market,



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     owns no taxis and pays none of the substantial capital costs or ongoing expenses required

     to operate legal taxi car businesses but nevertheless controls vast numbers of taxi and/or

     ride for hire vehicles and drivers. Uber offers UberX low-cost conveyance-for-hire

     vehicles to, inter alia, Greater Boston travelers as well as travelers in the municipalities

     referenced herein. UberX is a cut-rate, unlicensed taxi service.

495. Uber’s transportation system communicates with customers through a free smart

     phone application (“app”). The Uber app gives consumers the ability to hail an UberX car

     that seats 3-4 passengers. The user opens the Uber app, which displays: a map of the

     user’s location (or designated pickup point); the available UberX cars at and around that

     location; and displays how long the user will have to wait for each UberX car. After

     electronically hailed by the user, Uber’s out-of-state computer system selects an UberX-

     affiliated car, displays the driver’s name and photograph on the user’s smart phone, and

     sends a text message to the user with the driver’s projected arrival time and cell phone

     number.

     Uber’s Unlawful Approach to Competition

496. Uber’s business plan and activity illegally undermines critical safety provisions of

     the municipal Taxi Rules. Uber’s UberX transportation system preys parasitically on

     established taxi services without paying for them and without obeying the laws designed

     to protect taxi passengers. Uber owns no cars, no medallions, no licenses and no radio

     associations. It induces its drivers or “partners” to illegally substitute Uber’s

     computerized dispatching system for the legal dispatching system in each respective

     municipality. In doing so, Uber knowingly induces its drivers to violate the Taxi Rules.




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497. Uber illegally competes with taxis in the aforesaid municipalities. Uber violates nearly all

      substantive Taxi Rules by: misleading its customers, forcing drivers who sign up with

      Uber to violate licensing laws, and discriminating unlawfully against handicapped and

      elderly users of public transportation.

498. Uber undermines the existing taxi market thereby harming the Plaintiffs by having

      unregulated UberX cars function as cabs. Boston, Cambridge, Somerville, Everett,

      Randolph, Arlington, Belmont, Barnstable, Yarmouth, Dennis, Falmouth, Worcester and

      Braintree require that all taxis have a license or medallion and set a limit on the number

      thereof issued in each respective municipality. Uber violates this legal limit—and public

      safety—by signing up an unregulated and unaccountable legion of UberX vehicles (for

      example, Uber has over 20,000 cars in the City of Boston), and linking them to customers

      in direct competition with taxis and in direct violation of the Taxi Rules.

499. Uber’s campaign to attract taxi drivers is a carefully crafted plan to insert itself, at little or

      no cost and without legal authority, into the taxi infrastructure that has existed long

      before Uber began offering its services. Uber profits by taking parasitic advantage of a

      transportation system in which all other players, including Plaintiffs must comply with

      safety and consumer protections rules established by state and city laws.

500. The Taxi Rules produced a set of rules designed to meet the needs and protect the

      rights of individuals who need a car and driver on short notice—i.e., a taxi. Technological

      advances have made taxi dispatching more efficient over the years; however, Uber’s

      approach ignores and defies all taxi regulations designed to protect consumers who suffer

      from disabilities, or who live in less secure neighborhoods.

      Uber’s Illegal Operation of UberX Vehicles



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501. Uber’s business strategy is aimed directly at undermining the existing legal protections

     consumers receive under the Taxi Rules.

502. In early 2013, Uber began promoting UberX, known as “the Low Cost Uber,” as

     the economical substitute for all other Uber vehicles.

503. UberX is a cut-rate version of Uber Black Cars and SUVs. In early 2013, Uber’s

     promotional material told every owner of a Prius, Camry, Altima, Taurus or Fusion (2006

     or later) with a Massachusetts Driver’s License and a commercial insurance policy that

     he/she could become an Uber vehicle simply by demonstrating “city knowledge and

     professionalism” and completing a one-hour “on-boarding session.” Uber took said

     action despite knowing that such drivers equipment does not need to meet any of the

     standards set forth in the Taxi Rules and they did not have the required Municipal

     medallion or license. UberX Drivers did not need to pass any of the criminal record or

     driving record standards for Boston, Cambridge, Somerville, Everett, Randolph,

     Arlington, Belmont, Barnstable, Yarmouth, Dennis, Falmouth, Worcester and Braintree

     taxi drivers, and did not need to comply with the Taxi Rules that protect riders and

     neighborhoods against discrimination. UberX-affiliated cars are assigned by a set of out

     of state computers with no real-time connection to the Massachusetts municipal Police

     Departments and no ability to respond to public safety emergencies.

504. By non-compliance with municipal regulations and Taxi Rules, UberX is able to and does

     charge lower rates than the plaintiff’s licensed cabs.

505. The plaintiffs added by this Amended Complaint are either in a city or Town that Uber X

     did not start operating in until a date less than four (4) years before the filing of the

     Amended Complaint or said Plaintiffs did not know and should not have known of



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     Uber’s illegal and unfair competition and/or were not damaged thereby until a date less

     than four (4) years before the filing of this Amended Complaint.

506. In 2014, Uber’s marketing approach was designed to convince consumers to perceive

     UberX vehicles as the inexpensive alternative to taxis. But Uber’s fleet of UberX vehicles

     is, in practice, an unlicensed—and dangerous—group of taxis. Uber’s own CEO, Travis

     Kalanick, has referred to the practice of unlicensed vehicles operating for hire as

     “regulatory arbitrage” and their operations as unlicensed taxis as constituting a “criminal

     misdemeanor.” http://money.cnn.com/video/technology/2013/07/24/t-bst-uber-

     lyft.fortune/index.html.

     UberX vehicles are hailed by, inter alia, a smart phone App, assigned to customers

     through the same Uber computer system, and have fares determined by Uber’s

     computers. UberX vehicles function as roving conveyances for hire in Greater Boston

     and beyond, and are assigned in response to an “electronic hail” just as quickly as a taxi.

     Uber itself agrees that its affiliated autos function as taxis, claiming to New York taxi

     regulators that the Uber system is a “virtual hail” equivalent to standing on a street corner

     and flagging a cab.

507. From early 2013 to the present, all UberX vehicles have been subject to the Taxi

     Rules under Boston, Cambridge, Somerville, Everett, Randolph, Arlington, Belmont,

     Barnstable, Yarmouth, Dennis, Falmouth, Worcester and Braintree regulations. As a

     result, Uber affiliated vehicles are not permitted to operate without a taxi license and a

     driver who is licensed pursuant to the relevant municipality. For example, the City of

     Boston’s ordinance is clear: In the City of Boston, no person, firm, or corporation driving

     or having charge of a taxicab or other private vehicle shall offer the vehicle for hire for



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     the purpose of transporting, soliciting and/or picking up a passenger or passengers unless

     said person is licensed as a hackney driver and said vehicle is licensed as a hackney

     carriage by the Police Commissioner. See City of Boston Code 16-15.05: Vehicle for

     Hire Ordinance (Appendix I to Rule 403)3. 3 Similar regulations exist in Cambridge,

     Somerville, Everett, Randolph, Arlington, Belmont, Barnstable, Yarmouth, Dennis,

     Falmouth, Worcester and Braintree. See The Code of the City of Cambridge,

     Massachusetts c. 5.20 Articles X and IX; The Code of Ordinances, Town of Braintree,

     5-580; Somerville Code Sec 13.36; Everett Ordinance Section 1(c); Randolph

     Licensing Board Article I section I-1; Arlington code; Belmont Code Chapter 60

     Article 9A; Barnstable Taxi Cab Riles And Regulation Article II Section 1; Yarmouth

     Code; Town of Dennis Rules and Regulations for the Regulation of Vehicles For Hire

     Article II Section 1; Falmouth Code Chapter 280 Article II section 280-2; Worcester

     Revised Ordinances Part I D section 15 .

508. Every UberX driver hailed electronically by an Uber customer in Boston, Cambridge,

     Somerville, Everett, Randolph, Arlington, Belmont, Barnstable, Yarmouth, Dennis,

     Falmouth, Worcester and Braintree under Taxi Rules and the provisions of the municipal

     ordinances quoted above, must have a license. As none of them do, all UberX services in

     Boston, Cambridge, Somerville, Everett, Randolph, Arlington, Belmont, Barnstable,

     Yarmouth, Dennis, Falmouth, Worcester and Braintree are operating illegally.

509. Upon information and belief, Uber knew its operation of Uber X was illegal and in

     violation of the Taxi Rules as evidenced by its use of a so called “Greyball” program

     Uber employed to mask its illegal taxi service from Taxi Rule enforcement authorities

     and Plaintiffs. See Boston Globe Article



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     http://edition.pagesuite.com/popovers/article_popover.aspx?guid=14a69938-b806-4f20-

     a31a-543e15320ec8

     Risks of Uber’s Illegal Operation of UberX

510. The Taxi Rules protect the public from dangerous vehicles by requiring that all

     taxis be inspected to ensure they meet specific Taxi Rules standards for age, condition,

     equipment, lack of damage and cleanliness.4 4 For example, the City of Boston enacted

     standards embodied at Rule 403, Section 3: Vehicles, while the City of Cambridge

     enacted c. 5.20 Articles X and IX; the Town of Braintree enacted c. 5-580.

     Uber ignores these requirements entirely and operates illegally with its affiliated UberX

     cars. UberX represents to the public and its customers that it inspects all of its fleet. On

     information and belief, Uber superficially may inspect these vehicles when the owner

     first signs up. Uber, however, does not have a regular program of rechecking vehicle

     condition and licensing.

511. The Taxi Rules protect the public from dangerous cab drivers by requiring license

     applicants to meet certain criteria before applying for a license. For example, the City of

     Boston requires an applicant to:

     1. be twenty-one (21) years of age or older;

     2. pass a standard examination demonstrating the ability to speak, read, write

     and understand the English Language;

     3. participate in Hackney Carriage testing and training as determined by the

     Inspector of Carriages;

     4. have an original Birth Certificate, Alien Card, Asylum Document, US

     Passport or Naturalization Papers;



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5. not have a Hackney Carriage Driver's License that is revoked or suspended

in any jurisdiction;

6. have a valid Massachusetts Driver's License;

7. have had a Driver's License in the United States for at least two (2) years;

8. not have been adjudged a Habitual Traffic Offender, as defined by

Massachusetts General Law Chapter 90, Section 22F, or the equivalent in

any jurisdiction, within the past five (5) years;

9. not have any outstanding or unresolved driving infractions which could

result in the applicants Driver's License being suspended or revoked in any

jurisdiction;

10. not have had his or her Driver's License suspended for five (5) or more

Surchargeable Incidents, as defined by Chapter 211 of the Code of

Massachusetts Regulations section 134, or the equivalent in any jurisdiction,

within past five (5) years;

11. not have more than four (4) violations of the Traffic Laws and/or At-Fault

Accidents as, defined by Chapter 211 of the Code of Massachusetts

Regulations Section 134 or an equivalent department in the last three (3)

years (violations and accidents occurring on the same date will count as only

one) in any jurisdiction;

12. not have any Operating Under the Influence of drugs or alcohol convictions

or dispositions under Massachusetts General Law Chapter 90 section 24D

within the past five (5) years or the equivalent in any jurisdiction;

13. not have any felony convictions within the last five (5) years in any



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     jurisdiction;

     14. not have any drug convictions in the last five (5) years in any jurisdiction;

     15. not have any dispositions for a criminal offense, in any jurisdiction, that

     would result in the denial of a license, including admissions to sufficient

     facts or continuance of an offense without resolution, unless the

     circumstances of such incident are reviewed by the Inspector of Carriages as

     to the specific facts and circumstances and the applicant is thus approved by

     the Inspector of Carriages;

     16. not be required to register as a sex offender in any jurisdiction; and

     17. not have any outstanding or unresolved criminal court cases in any

     jurisdiction which could result in the license being denied if the Applicant

     was convicted of the alleged offense. Rule 403, Section 2 (III)

512. Uber violates the Taxi Rules by signing up UberX drivers who have not met the

     minimal requirements set forth by the Taxi Rules. Uber does not assure its customers that

     these drivers could meet any of the requirements of the Taxi Rules. According to Uber,

     anyone can drive an Uber-affiliated UberX car in Greater Boston as long as they have a

     conventional Driver’s License and insurance. Uber’s complete list of the standards it

     applies in selecting drivers is as follows:

     Uber driver-partners must:

     - be at least 21 years old

     - have at least one year of driving experience in the U.S.

     - have at least 3 years of driving experience if under 23

     - use an eligible 4-door vehicle (must be 2001* or later)



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     - vehicle must seat 4 passenger seats (not including the driver)

     - consent to and pass a background screening

     - use an iPhone 5 or newer, or an Android device running 4.0 or newer

     In order to complete the signup process and start taking trips, please upload:

     - your valid Driver’s License

     - proof of valid vehicle registration

     - proof of insurance for the vehicle listed on your account (your name must be on the

     insurance document)

     - your banking information

     (https://help.uber.com/h/ec5c2be3-e3db-4389-a18b-10db2279b082) (compare with

     ¶539).

513. Uber has a “Rating System” that purports to provide a quality control measure for

     their drivers:

     After each trip taken on the Uber platform, riders are given the opportunity to rate

     their driver. This 5 star rating system creates accountability and provides real-time

     data to the Uber team. Due to the immediate nature of the ratings, Uber is able to

     maintain a consistent and quality service offering

     (https://newsroom.uber.com/canada/what-makes-us-uber/)

514. Uber’s alleged method of ensuring it has “quality” drivers, however, consists of a

     five-star “rating system” by which Uber riders can choose to rate their driver immediately

     after the ride. Uber claims that if a driver dips below a certain star rating, Uber will “no

     longer do business with” that driver. Uber does not tell its customers that every driver

     receives a five star rating just for signing up with Uber. On information and belief, (i) a



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      driver only drops below a “Five Star” rating if dissatisfied customers take the time to post

      negative reviews, and (ii) Uber continues to use drivers even after they have received

      multiple negative reviews.

515. Uber’s true stance on driver safety is revealed in the waiver it forces every

      customer to execute when they first register as an Uber user. Uber refuses to take

      responsibility for anything relating to the “reliability, timeliness, quality, suitability, or

      availability of the services or any services or goods requested through the use” of their

      services. Neither does Uber make any guarantees with respect to “the quality, suitability,

      safety or ability of third party providers.” See https://www.uber.com/legal/terms/us/.

    Uber Discriminates Against Disabled, Elderly and Riders Without Credit Cards and

    Smartphones

516. The Taxi Rules require that every licensed taxi company in Boston, for example,

      must be part of a Radio Association, if they have more than 3 cabs. The Taxi Rules

      include multiple provisions that protect disabled and elderly riders against discrimination.

517. The Taxi Rules mandate that taxis cannot discriminate against any potential

      passengers. For example, the City of Boston Rules state that:

      A Hackney Carriage Driver may not refuse any passenger on the basis of race, sex,

      religion, disability, sexual orientation, national origin, or location of the passenger’s

      pickup or destination in any circumstance. See Rule 403, Section 5(II)(p)

518. Uber-affiliated drivers can unlawfully ignore this requirement and similar ones in the

      Taxi Rules without any adverse consequences.

519. Boston, Cambridge, Somerville, Everett, Randolph, Arlington, Belmont, Barnstable,

      Yarmouth, Dennis, Falmouth, Worcester and Braintree taxi drivers are required to accept



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        multiple forms of payment, including cash, credit cards, vouchers, or include elderly

        discounts, and Boston Taxi Industry Elderly Program (BTIEP) coupons, which allow

        customers who are elderly, handicapped, disabled or suffer from cancer to pay discounted

        rates. See Rule 403, Section 9(II)(b). Uber drivers cannot accept cash, coupons or

        vouchers. All payments are charged automatically to the customer’s preauthorized credit

        card. Uber’s credit-card-only payment system discriminates against individuals without

        credit cards, and discriminates unlawfully against elderly, handicapped, disabled and

        cancer patients, who have the legal right to use BTIEP coupons to pay for taxi trips.

       Uber Charges Illegal Fares

520. The Taxi Rules protect consumers by establishing stable, uniform fares. Charges

        for trips within each respective municipality and to nearby suburbs (“Meter Rate

        Communities”) must be displayed on a city-inspected and sealed taximeter that calculates

        the fare based on time and distance. For example, trips to more distant towns are set by

        the Flat Rate Handbook in the City of Boston. See Rule 403, Section 10(II)(c).

521.     UberX does not obey these fare limits. Instead, Uber charges a flat rate plus

        additional charges per-mile or per-minute, depending on the vehicle’s speed. This

        unlawful variation in taxi rates violates the Taxi Rules’ policy in favor of uniform, non-

        discriminatory charges for taxi service.

522. Uber’s illegal fares for UberX become even more exploitative in times of high

        demand. During these periods, Uber imposes “surge pricing,” a multiple of its base fare

        structure. Surge pricing is an additional unlawful method by which UberX cars unfairly

        compete against licensed taxis because licensed taxis cannot charge more than the rates

        prescribed by the Taxi Rules.



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       Uber Operates an Illegal Dispatching Service

523.     As stated above, Boston requires that every taxi join a Radio Association if they

        operate more than 3 cabs. Each Association must have a membership of at least forty

        cabs in the City of Boston. Approved Radio Associations are legally required to provide a

        broad range of services to assist the police and protect consumers. Each Association is

        required to make taxis available to the elderly and handicapped passengers. In Boston,

        these services include:

        i. Twenty-Four (24) Hour Dispatch Capabilities;

        ii. Two-Way Radio and Dispatch Service [amended by ix, below];

        iii. Wheelchair Accessible Vehicle (WAV) Availability;

        iv. Elderly Discount Re-imbursement Services;

        v. Call/Dispatch Record Keeping and Reporting;

        vi. Lost Or Found Property Reporting Procedures; and

        vii. Dispatch services shall include record keeping that specifies:

        (1) the total number of calls for service;

        (2) the time and location of each request;

        (3) the Medallion number of the cab dispatched; and

        (4) the time and location of WAV’s dispatched.

        viii. Global Positioning System tracking devices are mandatory and all Hackney

        Carriages shall be equipped with a GPS system approved by the Inspector of

        Carriages which shall allow the Inspector of Carriages and Medallion Owner to

        ascertain the whereabouts, activities and fare data of each vehicle via the internet at

        all times. Said system shall store such information in a retrievable form for 365



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      days. The association must provide the Inspector of Carriages with the user name

      and password necessary to access said system. Such information shall be searchable

      for the following data.

      • Date, time, and location of passenger pick-up and drop-off

      • Trip duration measured in time and mileage

      • Trip number

      • Itemized fare (tolls, surcharges, and tip amount for card payments)

      • Payment type (Cash, Credit, Debit, Student ID, Voucher)

      • Last four (4) digits of customer credit/debit, etc. account number

      • Hackney Medallion number

      • Hackney Driver’s License number

      • Status codes

      • Date and time of taxicab dispatch

      • “Breadcrumb trail” GPS-based location data. (real-time and historical)

      ix. GPS enhanced dispatch services which enable the radio association to dispatch the

      Boston Licensed Taxi which can arrive at the location most quickly. Said system

      shall be equipped with a panic button utilized by the driver which will automatically

      notify the dispatcher of an emergency and the vehicle’s location.

      See Rule 403, Section 7(I)(d).

524. Only an approved Radio Association can dispatch taxis in Boston. Rule 403,

      Section 7. Uber is not, and has never sought to be, an approved Radio Association. Uber

      violates the law every time its computers cause an UberX car to be sent to an Uber

      customer in Boston.



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525. Uber benefits financially by enlisting UberX car owners who have no medallions,

      no licenses and are not members of a Radio Association. By violating the licensing and

      Radio Association requirements, Uber unlawfully evades any investment in medallions,

      cars, Wheelchair Accessible Vehicles, registrations, insurance, dispatching equipment,

      protective partitions, taximeters, credit card machines, and other public safety and anti-

      discrimination requirements imposed by the Taxi Rules. In violating the Taxi Rules with

      its affiliated UberX vehicles, Uber unfairly competes with the plaintiffs and puts the

      public at risk for its own economic benefit. For example, in Boston UberX violations

      result in the following:

      A. Quality of Drivers: The Taxi Rules require all drivers to hold a license to operate

      a taxi, which is only granted to applicants who meet the Taxi Rules’ standards for testing,

      training, criminal record, driving record, drug use and sex offender status. Taxi holders

      are held to an extensive set of rules, requiring them to (for example):

      i. not possess alcohol or permit open alcohol containers in their vehicle;

      ii. not talk on a cell phone;

      iii. not smoke or permit smoking; and

      iv. not discriminate against potential customers based on race, sex, religion,

      disability, sexual orientation, national origin, pickup location or destination or

      intoxication.

      See Rule 403, Section 5(II).

      These rules are enforced by the Inspector of Carriages, who can conduct hearings on

      complaints and suspend or revoke a license. In contrast, Uber does not require UberX

      drivers in Greater Boston to have anything more than a conventional Driver’s License.



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B. Quality of Owners: Boston, Cambridge, Somerville, Everett, Randolph, Arlington,

Belmont, Barnstable, Yarmouth, Dennis, Falmouth, Worcester and Braintree issue a

limited number of licenses, and medallions and the municipalities review each medallion

and license holder applicant for suitability. See Chapter 392 of the Acts of 1930; Rule

403, Section 2(II)(b)(i). License or medallion owners can be required and must provide

the Inspector of Carriages (in the case of the City of Boston) with the names of every

individual and organization with an ownership interest in the medallion. Uber enlists as

many UberX cars as it can, often dealing with individuals or small companies with a

single car. Uber knows virtually nothing about the financial stability, citizenship,

litigation record, affiliations or control of the car owners that it describes as its “partners.”

C. Quality of Cars: UberX cars lack essential protections required by the Taxi Rules

for all dispatched-on-demand transportation services in Boston, Cambridge, Somerville,

Everett, Randolph, Arlington, Belmont, Barnstable, Yarmouth, Dennis, Falmouth,

Worcester and Braintree. For example, in the City of Boston:

i. Protective Partitions: Rule 403 mandates that all Boston cabs have a

protective barrier of metal and lexan between the front and back seats. Rule

403 Section (3)(III)(c)(iii). These barriers not only protect drivers from

assault and theft; they also prevent drunk or drugged passengers from

interfering with the driver and causing accidents. Uber’s marketing touts the

capacity of its UberX vehicles that increases the risk that boisterous

passengers will distract the driver—or worse. UberX vehicles have no

partitions, thereby putting drivers at risk and undermining a critical public

safety program of the City of Boston.



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      ii. GPS Tracking and Panic Buttons: Every Boston cab must be equipped with an

      Inspector-approved GPS system that gives the Boston Police: internet access,

      both in real time and for a year after any trip, to the location of every cab; the

      pick-up and drop-off points; how the passenger paid, and the exact route

      followed. Every cab must also be equipped with a panic button that

      automatically sends the dispatcher an emergency signal and the location of the

      cab. UberX vehicles have no such approved equipment.

      iii. Taximeters and Flat Rates: The fare for every Boston taxi trip is set by an

      inspected and sealed taximeter or the Flat Rate Handbook, thereby ensuring

      that every customer pays the same rate. UberX do not comply with these

      legally-mandated maximum rates. Fares are set by Uber’s proprietary

      algorithm. Uber also uses “surge” pricing “during times of high demand.”

      Uber takes advantage of this price gouging to increase prices on roughly 40%

      of Uber trips. See https://www.bostonglobe.com/metro/2016/01/04/surge-pricing-

      charged-for-percentuber-trips-new-year-eve/kJaQaEv1ImAISMnSV7EjeM/story.html.

Uber Unfairly Competes With Licensed Cabs That Comply With the Taxi Rules

 526. UberX directly competes with taxis operating in Boston, Cambridge, Somerville,

      Everett, Randolph, Arlington, Belmont, Barnstable, Yarmouth, Dennis, Falmouth,

      Worcester and Braintree.

 527. Taxis operating in Boston, Cambridge, Somerville, Everett, Randolph, Arlington,

      Belmont, Barnstable, Yarmouth, Dennis, Falmouth, Worcester and Braintree must

      comply with regulations that: protect the public from harm; prohibit discrimination

      against the disabled, the elderly, and set maximum fares to protect the consumer. To



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        comply with these regulations, cabs must invest in equipment, training and licenses,

        charge only prescribed fares, and serve all areas. In contrast, UberX vehicles ignore the

        Taxi Rules and require consumers to use a credit card.

528. On information and belief, many of the UberX vehicles also compete unfairly by

        unlawfully purchasing regular car insurance. In Massachusetts, many taxis are insured

        through the assigned-risk CAR program established by M.G.L. c. 175, § 113H. The CAR

        program insurance charges premiums for taxis. UberX vehicles that purchase regular car

        insurance compete unfairly by functioning as taxis while paying substantially lower

        insurance rates than taxis. Uber and any affiliates who improperly obtain car service

        insurance are also putting customers at risk, as insurers may disclaim coverage for UberX

        vehicles that have not paid taxi insurance rates.

       Uber’s Additional Unfair Conduct

529. In February 2013, when Uber launched UberX in Boston, it charged prices higher

        than taxicab rates but lower than UberBlack rates. Uber promoted UberX as costing 40%

        lower than UberBlack. In early 2013, UberX cost $5.00 for the base rate in the Greater

        Boston area.

530.     As demand for UberX increased between early 2013 and October 2013, Uber

        began offering free rides in Boston. See https://newsroom.uber.com/usmassachusetts/

        bosfreeuberxweek/.

531. As demand further increased, Uber decreased the base rate for UberX services in

        the Boston area to $2.50, thereafter promoting that rides were “now 30% cheaper than a

        taxi!” and provided the following: (https://newsroom.uber.com/us-massachusetts/new-




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       uberx-prices-now-30-cheaper-than-a-taxi/) (https://newsroom.uber.com/us-

       massachusetts/new-uberx-prices-now-30-cheaper-than-a-taxi/).

532. Upon information and belief, Uber lost money on each and every UberX ride

       provided in the Greater Boston Ride-Hail Market after offering free rides and

       subsequently reducing prices in October 2013.

533. Upon information and belief, at the same time it lowered UberX rates in the

       Greater Boston Ride-Hail Market, Uber reduced its commission on each UberX ride to

       subsidize the income lost by UberX drivers due to the price cuts.

534. Upon information and belief, Uber lost money on each and every UberX ride in

       the Greater Boston Ride-Hail Market under this pricing structure.

535. In January 2014, Uber further reduced fares by 15-34%, advocating that “[o]n

       average across all Uber cities, UberX is 26% cheaper than a taxi,” providing the

       following example: (https://newsroom.uber.com/situation/).

536.   In April 2014, Uber restored its commission on UberX rides to 20 percent but did

       not return UberX prices to pre-January levels. This resulted in the drivers suffering a 15

       percent reduction in income compared to the prior structure.

       (http://www.geekwire.com/2014/uber-adds-1-safe-rides-fee-passengers/).

537. In June 2014, Uber further reduced UberX prices by 25 percent making it half the

       price of a taxi.

538. To publicize the drastic undercutting of the prices charged by the taxicab industry,

       Uber posted the graphics illustrating how its UberX service was less expensive than taxi:

       (https://newsroom.uber.com/us-massachusetts/uberx-in-boston-just-got-even-cheaper/).

539. Upon information and belief, Uber paid its drivers more than Uber charged



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      passengers under the new pricing program. Though UberX passengers paid only 75

      percent of the January 2014 rates due to the 25 percent price-reduction, Uber continued to

      pay UberX drivers 80 percent of the January 2014 rates – meaning Uber paid to the driver

      the entire amount collected from the passenger plus an additional 5 percent for each

      UberX ride.

540. When Uber stopped subsidizing UberX drivers’ income in the Greater Boston

      Ride-Hail Market in September 2014, Uber increased their commissions to a high of

      25%.

541. Upon information and belief, the June 2014 price cuts lowered UberX prices and

      Uber lost money on each and every UberX ride under the pricing structure implemented

      in June 2014.

542. Upon information and belief, beginning in at least June 2014 and continuing

      through the present date, Uber has lost and continues to lose money on each and every

      UberX ride provided in the Greater Boston Ride-Hail Market.

543. Uber has been able to maintain its below-cost predatory pricing for its UberX

      services in the Greater Boston Ride-Hail Market due to its offering services in violation

      of the Taxi Rules thereby illegally lowering its cost to provide Taxi service as well as its

      vast reserves of capital invested with the expectation of reaping extraordinary future

      returns.

544. In adopting this approach, Uber has deflated fares of UberX to prices below cost

      in an effort to drive competitors of UberX (all taxis) from the market in the hope of

      recouping its losses once Uber’s competition has been destroyed. In fact, Uber has lost as

      much as $2 billion a year via this overall plan to unfairly compete with plaintiffs. See



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       http://www.bizjournals.com/sanjose/news/2016/12/02/uber-fares-cover-less-than-half-of-

       ridecosts-new.html?ana=twt.

 545. Uber’s intent to unfairly compete with and injure competitors like plaintiffs has been

       made clear through the statements of its Chief Executive Officer Travis Kalanick and

       Uber’s advertising that highlights its unilateral price war in the Greater Boston Ride-Hail

       Market.

 546. Supported by billions of dollars in venture capital, allowing it to operate at enormous

       losses due to below-cost pricing, Uber’s plan is to drive all Plaintiffs’ cab companies

       out of business. Uber has a dominant share in the Ride-Hail Market. Uber has captured

       more than 80 percent of the Ride-Hail Market.

 547. As a result of Uber’s unfair competition activity above, Plaintiffs have lost, inter alia,

       substantial profits as a result of lost fares to Uber, and substantial devaluation of its assets

       (medallions/licenses), and will continue to suffer damages.

 548. Below are the financial differences between plaintiffs and Uber as a result of Uber

       violating the Taxi Rules in the City of Boston:

Medallion Value $335,000 – 700,000             $0

Vehicle Insurance $5,000 – $10,000             $400 – $1,000

Vehicle Purchase $20,000 - $30,000             Vehicles 10 years old

Vehicle Setup (vinyl seats, vinyl

floor, partition, emergency lights,

lettering) $2,000                              $0

Tinted Glass Removal $1,000                    $0

Hackney License $32                            $0



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Fingerprinting $50                           $0

Medallion Renewal $100                       $0

Meter Seal $40                               $0

BTEIP elderly handicapped $150               $0

Radio Associations $20 – $50/wk              $0

Meter Rates $2.60 base/ 0.40¢ per1/7

mile $2.80/mile $28 wait

time/                                        Flat rate $3.20

                                             $2 Base rate/ $1.24 mile/

                                             $1.15 service fee

Corporation Taxes $456                       $0

549. Each Uber driver-partner operated a "hackney carriage" because his or her vehicle was

    “used or designed to be used for the conveyance of persons for hire from place to place

    within the City of Boston.” During the Unlawful Conduct Period, each Uber driver operated

    an illegal hackney carriage without having a taxi medallion and without complying with

    Boston taxi regulations. During the Unlawful Conduct Period, Uber also aided and abetted

    the Uber drivers’ operation of an illegal hackney carriage without having a taxi medallion

    and without complying with Boston taxi regulations.

        550.   Uber dispatches vehicles for hire through its free smart phone application. Uber

users can summon a premium “SUV” that seats six passengers; a premium “black car” that seats

four passengers; an UberXL car that seats six passengers; or an UberX car that seats four

passengers. Using the Uber app, the user chooses the type of car he or she wants and Uber’s

computer system then selects an Uber-affiliated car to dispatch. 24. Uber controls and directly



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manages Uber’s entire hackney carriage service, including its drivers. Uber markets its hackney

carriage services to passengers. Uber also markets to and recruits drivers to provide the Uber

hackney carriage services. 25. Uber drivers have no control over the fares charged to passengers.

Uber establishes the fares using its pricing algorithm, and collects the fares from the passengers.

Uber drivers are paid by Uber, which splits the fares with its drivers. When Uber launched its

UberX and UberXL services in 2013 and 2014, Uber retained 20% of the fare and paid its drivers

80% of the fare. In 2015, Uber increased its share of those fares to 25%. Uber also charges a

“safe rides” fee (which has ranged from $1.00 to $1.15).By ignoring and flouting these legal

requirements, Uber avoided the very substantial expense associated with purchasing medallions

and complying with the Taxi Rules. This enabled Uber to flood the Boston market with

thousands of unlicensed taxis, driven by thousands of unlicensed taxi drivers. During the

Unlawful Conduct Period Uber had, and it still has, nearly 10,000 drivers in Boston, who did not

meet Boston taxi licensing rules and used vehicles that did not meet Boston taxi vehicle

specifications. This enabled Uber and Uber drivers to compete unfairly with Plaintiffs for

passengers and for drivers.Uber and the Uber drivers also unfairly competed against Plaintiffs

and Plaintiffs’ drivers because Uber and its drivers avoided the costs which Plaintiffs and

Plaintiffs’ drivers must necessarily incur to comply with Boston taxi regulations. In violation of

the rules and regulations governing hackney carriage services in Boston in effect during the

Unlawful Conduct Period, Uber used drivers for its UberX and UberXL services who did not

have taxi medallions or hackney carriage driver’s licenses; allowed drivers to use vehicles that

did not comply with hackney vehicle regulations; did not have the costly commercial insurance

required for licensed taxis; failed to have required equipment required of licensed taxis; and did

not have the costs of joining a required radio association. This enabled Uber and the UberX



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drivers to charge less than the Boston Taxi Fares, and compete unfairly for passengers. This also

allowed Uber to compete unfairly with Plaintiffs for drivers because Uber drivers were able to

operate a hackney carriage at a substantially lower cost than the costs which the regulations

imposed both directly and indirectly on drivers of licensed taxis. As a result, many drivers who

previously drove for Plaintiffs ceased driving for Plaintiffs and opted to drive for Uber.

          551.     In summary, as explained in detail herein:

      •               Uber and its drivers operated an illegal and unlicensed hackney carriage

business in Boston

          •   Uber violated regulations establishing the Boston Taxi Fares

          •   Uber unfairly competed with medallion owners for drivers

          •   Uber drivers did not meet Boston hackney licensing requirements

          •   Uber vehicles did not meet Boston hackney requirements concerning vehicle age,

          condition, and installed equipment

          •   Uber operated an illegal dispatching service

          •   Uber avoided costs associated with not serving disabled and less wealthy customers

          •   Uber did not require its drivers to obtain commercial insurance required of licensed

          taxi drivers

          552.     During the Unlawful Conduct Period, Uber drivers defied the Taxi Rules. Uber

drivers were recruited by Uber to compete unlawfully and unfairly against licensed Boston cabs

by ignoring the Boston Taxi Rules and Boston Taxi Fares. By ignoring regulations and avoiding

the associated costs required to legally operate a taxi in Boston, Uber drivers competed unfairly

with Plaintiffs.

          553.     In contrast, Uber did not require its Uber drivers to get a Hackney Carriage


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Driver’s License, or otherwise meet the requirements for obtaining a Hackney Carriage Driver’s

License. During the Unlawful Conduct Period, UberX drivers only had to:

       a) be 21 years of age or older;


       b) have a valid driver’s license from any state in the U.S.; and


       c) have at least one year of driving experience (three years of experience needed if under

       23).


       (https://www.uber.com/boston-drivers/requirements).


       554.   In contrast, during the Unlawful Conduct Period, Uber only required its UberX

and UberXL vehicles to meet the following minimal standards:

       a) Model year is 2001 or newer;


       b) must be a 4-door car, truck or minivan;


       c) be in “good condition” with no cosmetic damage.


       (https://www.uber.com/boston-drivers/requirements/vehicle-requirements) (last accessed

       12/8/2016).


       555.   By flouting the requirements for the age, condition and installed equipment on

hackney carriages, Uber was able to achieve substantial economic advantages over Plaintiffs and

other licensed medallion owners: (a) Uber and/or its drivers were able to save on equipment

costs, enabling Uber to undercut the Boston Taxi Fares; (b) Uber was able to lure drivers away

from licensed taxi medallion owners; and (c) Uber was able to flood the market with unlicensed

Hackney Carriages that did not comply with the Boston Taxi Rules.

       556.   During the Unlawful Conduct Period, Uber did not, never sought to be, and could

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not have been approved as a Radio Association. Uber did not provide most of the services

required of a Radio Association, as set forth above.

        557.    By ignoring and flouting the Radio Association requirements of the Boston Taxi

Rules during the Unlawful Conduct Period, Uber and its drivers avoided the substantial cost and

expense of being a member of a Radio Association. Avoiding those costs and expenses further

enabled Uber and the Uber drivers to compete unfairly with Plaintiffs and the drivers of

Plaintiffs’ licensed taxis.

                                             COUNT I

 (UNFAIR COMPETITION IN VIOLATION OF M.G.L. c. 93A, § 11 vs. UBER and RASIER)

 558. Plaintiffs incorporate the allegations of Paragraphs 1-557 of this Complaint.

 559. By unlawfully operating its UberX transportation services without incurring the

        expense of compliance with Massachusetts and Boston, Cambridge, Somerville, Everett,

        Randolph, Arlington, Belmont, Barnstable, Yarmouth, Dennis, Falmouth, Worcester and

        Braintree Taxi Rules, as alleged above, Uber and/or Rasier unfairly compete with

        Plaintiffs, in violation of M.G.L. c. 93A, § 11.

  560. Uber and/or Rasier’s unlawful competition has caused harm to Plaintiffs by diverting

        revenues that would otherwise be paid to plaintiff’s and by reducing the value of their

        taxi medallions and/or taxi businesses.

                                             COUNT II

               (COMMON LAW UNFAIR COMPETITION vs. UBER and RASIER)

  561. Plaintiffs incorporate the allegations of Paragraphs 1-560 of this Complaint.

  562. By unlawfully operating its UberX transportation services without incurring the




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       expense of compliance with Massachusetts and Boston, Cambridge, Somerville, Everett,

       Randolph, Arlington, Belmont, Barnstable, Yarmouth, Dennis, Falmouth, Worcester and

       Braintree laws, as alleged above, Uber and/or Rasier unfairly compete with the plaintiffs.

 563. Uber and/or Rasier’s unfair competition has caused harm to Plaintiffs by diverting

       revenues that would otherwise be paid to taxis and by reducing the value of their taxi

       medallions and/or taxi businesses.

                                             COUNT III


            AIDING AND ABETTING THE VIOLATIONS OF M.G.L. c. 93A, §2
       AND UNFAIR COMPETITION BY UBER DRIVERS vs. UBER and RASIER


564.   Plaintiffs incorporate the allegations in all of the paragraphs above into this


       Count.


565.   Uber and/or Rasier’s drivers engaged in trade or commerce in the Commonwealth of

       Massachusetts.


566.   By unlawfully operating hackney carriages in Boston and surrounding cities and

       municipalities, and engaging in the acts and practices alleged herein, Uber and/or

       Rasier’s drivers engaged in unfair methods of competition with Plaintiffs in violation of

       M.G.L. c. 93A, §2 and the common law.


567.   The Uber and/or Rasier drivers’ violations of M.G.L. c. 93A, §2 were willful and

       knowing.




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568. Uber and/or Rasier knew that its drivers were providing illegal taxi services in violation of

       the Boston Taxi Rules, and were engaging in unfair methods of competition in violation of

       M.G.L. c. 93A, §2 and the common law.


569. Uber and/or Rasier knew that its drivers’ violations of M.G.L. c. 93A, §2 were willful and

       knowing.


570. Uber and/or Rasier actively participated in and substantially assisted the Uber drivers’

       provision of illegal taxi services in violation of the Boston Taxi Rules, and their engaging

       in unfair methods of competition in violation of M.G.L. c. 93A, §2 and the common law.


571. Plaintiffs have been damaged by the Uber and/or Rasier drivers’ violations of c. 93A, §2

       and the common law, in amounts to be proven at trial.


572. Uber and/or Rasier are liable to Plaintiffs for the damages sustained by Plaintiffs which

       were caused by Uber and/or Rasier’s aiding and abetting the conduct of the Uber drivers

       which violated c. 93A, §2 and the common law.


573. Uber and/or Rasier are liable to Plaintiffs, pursuant to M.G.L. c. 93A, §11, for triple the

       damages sustained by Plaintiffs, in amounts to be proven at trial in light of Uber and/or

       Rasier’s knowing and willful aiding and abetting the violations of M.G.L. c. 93A, §2 by the

       Uber drivers.


                                               COUNT IV


                            CIVIL CONSPIRACY vs. UBER and RASIER


574.    Plaintiffs incorporate the allegations in all of the Paragraphs above into this Count.



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575. Uber and/or Rasier and its drivers had a common plan, design and agreement to engage in

       unfair methods of competition in violation of M.G.L. c. 93A and the common law, and

       took affirmative steps to achieve that result.


576. Plaintiffs have been damaged by Uber and/or Rasier’s conspiracy to engage in unfair

       methods of competition in violation of M.G.L. c. 93A and the common law.


577.    Uber and/or Rasier are liable to Plaintiffs for the damages sustained by Plaintiffs, which

        were caused by Uber and/or Rasier’s conspiracy to engage in unfair methods of

        competition in violation of M.G.L. c. 93A and the common law, in amounts to be proven

        at trial.


578.    Uber and/or Rasier are liable to Plaintiffs, pursuant to M.G.L. c. 93A, §11, for triple the

        damages sustained by Plaintiffs, in amounts to be proven at trial in light, in light of Uber

        and/or Rasier’s participation in a conspiracy with the Uber drivers to violate M.G.L. c.

        93A, §2.


                                      PRAYER FOR RELIEF

WHEREFORE, Plaintiffs pray that the Court:

A. enter judgment in favor of the Plaintiffs on all counts of the Complaint;

B. award Plaintiffs damages caused by Defendant’s unfair competition;

C. award Plaintiffs treble damages, costs and attorney’s fees; and

G. award Plaintiffs such other and further legal and equitable relief as the Court may

deem just and proper.




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                                 DEMAND FOR JURY TRIAL

Plaintiffs demand a trial by jury on all counts of the complaint so triable.

Dated: January 25, 2019


                                               Respectfully submitted,


                                               Plaintiffs,
                                               By their Attorneys,
                                               LAW OFFICES OF
                                               CHRISTOPHER G. TIMSON, P.C.


                                               /s/ Christopher G. Timson
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                                 CERTIFICATE OF SERVICE

I, hereby certify that this document(s) filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants on February 6,
2019.

                                                      /s/ Christopher G. Timson
                                                      Christopher G. Timson

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